Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 1 of 93 Page ID #:21



  1   RYAN H. CROSNER, CA Bar No. 278418
      ryan.crosner@ogletree.com
  2   NARE AVAGYAN, CA Bar No. 292608
      nare.avagyan@ogletree.com
  3   OGLETREE, DEAKINS, NASH,
      SMOAK & STEWART, P.C.
  4   400 South Hope Street, Suite 1200
      Los Angeles, CA 90071
  5   Telephone: 213-239-9800
      Facsimile: 213-239-9045
  6
    Attorneys for Defendants
  7 ROYALE INTERNATIONAL COURIERS LTD.,
    ROYALE INTERNATIONAL COURIERS, INC., and
  8 ROYALE INTERNATIONAL

  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11

 12   BRIAN TOLK, an individual,                Case No. 2:22-cv-4081
 13              Plaintiff,                     DECLARATION OF RYAN H.
                                                CROSNER IN SUPPORT OF
 14        v.                                   REMOVAL OF CIVIL ACTION TO
                                                UNITED STATES DISTRICT COURT
 15 ROYALE INTERNATIONAL
    COURIERS LTD.; ROYALE                       [Filed concurrently with Notice of
 16 INTERNATIONAL COURIERS, INC.;               Removal of Civil Action to United States
    ROYALE INTERNATIONAL; and                   District Court; Civil Cover Sheet;
 17 DOES 1 to 100, Inclusive                    Certification of Interested Parties and
                                                Disclosure Statement; Declaration of
 18                                             David Toth]
                 Defendants.
 19
                                                Complaint Filed: March 25, 2022
 20                                             Trial Date: None
                                                Judge:      Hon. _______
 21                                             Courtroom:
 22

 23

 24

 25

 26

 27

 28
                                                                       Case No. 2:22-cv-4081
                    DECLARATION OF RYAN H. CROSNER IN SUPPORT OF REMOVAL
                       OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                                           51538563.v1-OGLETREE
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 2 of 93 Page ID #:22



  1                       DECLARATION OF RYAN H. CROSNER
  2         I, Ryan H. Crosner, declare and state as follows:
  3         1.     I am an attorney licensed to practice law before all courts of the State of
  4   California. I am an attorney at the law firm of Ogletree, Deakins, Nash, Smoak and
  5   Stewart, P.C., counsel for defendants Royale International Couriers Ltd., Royale
  6   International Couriers, Inc., and Royale International (collectively referred to herein
  7   as “Defendants”). I make this declaration in support of Defendants’ Removal of
  8   Civil Action to United States District Court (“Removal”). The facts set forth herein
  9   are true of my own personal knowledge, and if called upon to testify thereto, I could
 10   and would competently do so under oath.
 11         2.     On or about March 25, 2022, Plaintiff Brian Tolk (“Plaintiff”) filed a
 12   Complaint in the Superior Court of California, County of Los Angeles, captioned
 13   Brian Tolk v. Royale International Couriers Ltd.; Royale International Couriers, Inc.;
 14   Royale International. Plaintiff sets forth in the Complaint that at all times mentioned
 15   herein, Plaintiff resided in Los Angeles County. Attached hereto are true and correct
 16   copies of the following process, pleadings, and orders filed in the civil action in the
 17   Superior Court of Los Angeles County, State of California (“Superior Court Action”):
 18   Summons (Exhibit 1); Complaint (Exhibit 2); Civil Case Cover Sheet (Exhibit 3);
 19   Notice of Case Assignment (Exhibit 4); Voluntary Efficient Litigation Stipulations
 20   (Exhibit 5); Alternative Dispute Resolution (ADR) Information Packet (Exhibit 6);
 21   and First Amended General Order (Exhibit 7).
 22         3.     On May 16, 2022, I accepted service of the documents attached hereto as
 23   Exhibits 1 through 7 by signing and returning the Notice and Acknowledgment of
 24   Receipt to Plaintiff. A true and correct copy of this Notice and Acknowledgment of
 25   Receipt is attached hereto as Exhibit 8.
 26         4.     Attached as Exhibits 9(a)-(i) to this declaration are true and correct
 27   copies of federal and state court decisions/verdicts/settlements:
 28                (a)   Navarro v. DHL Global Forwarding, No. 1708160028, 2017 WL
                                             1                      Case No. 2:22-cv-4081
                      DECLARATION OF RYAN H. CROSNER IN SUPPORT OF REMOVAL
                         OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                                            51538563.v1-OGLETREE
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 3 of 93 Page ID #:23



  1   3503541 (C.D. Cal. May 22, 2017) ($765,000 for non-economic damages where
  2   plaintiff alleged he was discriminated against and wrongfully terminated in violation
  3   of public policy);
  4                (b)      Izaguirre v. International Coffee & Tea LLC, et al., 2013 WL
  5   6624243 (Cal. Sup. Ct. September 26, 2013) ($85,000 for non-economic damages
  6   where plaintiff alleges she was terminated from her employmen tin violation of
  7   public policy);
  8                (c)      Karras v. Joan Baker Designs Inc., 2008 WL 8126132 (Cal. Sup.
  9   Ct. August 13, 2008) ($100,000 awarded to plaintiff alleging marital status
 10   discrimination and wrongful termination in violation of public policy;
 11                (d)      Hernandez v. Pacific Bell Tel. Co., No. 1605120026, 2016 WL
 12   2758062 (Cal. Sup. Ct. April 14, 2016) ($1,500,000 for pain and suffering where
 13   plaintiff alleges she was terminated in retaliation for interference with her rights under
 14   CFRA and FMLA).
 15                (e)      Lang v. Healthco Int’l Corp., No. 327143-4, 1986 WL 795038
 16   (Fresno County Superior Court) (awarding $175,000 in punitive damages on a
 17   wrongful termination claim);
 18                (f)      Chopourian v. Catholic Healthcare West, No. 09CV02972 (KJM),
 19   2012 WL 767196 (E.D. Cal. 2012) (awarding $31,250,000 in punitive damages for
 20   wrongful termination case).)
 21                (g)      Juarez v. AutoZone Stores, Inc., JVR No. 1412040011, 2014 WL
 22   7017660 (S.D. Cal. Nov. 17, 2014) (awarding $185,872,720 in punitive damages in
 23   case involving claims of wrongful termination, among other things);
 24                (h)      Lopez v. Bimbo Bakers USA Inc., 2007 WL 1765192 (Cal. Sup. Ct.
 25   May 22, 2007) (awarding $2,340,700 to former delivery driver claiming employer
 26   terminated her because of her disability);
 27                (i)      Coziahr v. Chula Vista Elem. Sch. Dist., 2007 WL 4590579 (Cal.
 28   Sup. Ct. Dec. 7, 2007) (awarding $1,012,720 to former grade school teacher claiming
                                               2                       Case No. 2:22-cv-4081
                         DECLARATION OF RYAN H. CROSNER IN SUPPORT OF REMOVAL
                            OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                                             51538563.v1-OGLETREE
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 4 of 93 Page ID #:24



  1   a pattern of gender discrimination over two-year period, ending in her termination).)
  2         5.     “Royale International Couriers, Inc.” and “Royale International” are not
  3   entities registered to do business in California or Arizona.
  4         I declare under penalty of perjury under the laws of the State of California that
  5   the foregoing is true and correct, and that this declaration was executed on this 14th
  6   day of June, 2022, at Los Angeles, California.
  7

  8
                                                 Ryan H. Crosner
  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                3                        Case No. 2:22-cv-4081
                      DECLARATION OF RYAN H. CROSNER IN SUPPORT OF REMOVAL
                         OF CIVIL ACTION TO UNITED STATES DISTRICT COURT
                                                                             51538563.v1-OGLETREE
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 5 of 93 Page ID #:25




                     EXHIBIT 1
Electronically FILED by Superior Court of California, County of Los Angeles on 03/25/2022 05:26 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                    Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 6 of 93 Page ID #:26
                                                    22STCV10468
                                                                                                                                                                           SUM-100
                                                         SUMMONS                                                                               FOR COURT USE ONLY
                                                                                                                                           (SOLO PARA USO DE LA CORTE)
                                               (CITACION JUDICIAL)
           NOTICE TO DEFENDANT:
           (AVISO AL DEMANDADO):
            ROYALE INTERNATIONAL COURIERS LTD.; ROYALE INTERNATIONAL COURIERS,
            INC.; ROYALE INTERNATIONAL; and DOES 1 to 100, Inclusive.

           YOU ARE BEING SUED BY PLAINTIFF:
           (LO ESTÁ DEMANDANDO EL DEMANDANTE):
            BRIAN TOLK, an individual;


            NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
            below.
               You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
            served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
            case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
            Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
            the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
            may be taken without further warning from the court.
                There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
            referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
            these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
            (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
            costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
            ¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
            continuación.
               Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
            corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
            en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
            Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
            biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte
            que le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
            podrá quitar su sueldo, dinero y bienes sin más advertencia.
              Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
            remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
            programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
            (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
            colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
            cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
            pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

          The name and address of the court is: Stanley Mosk Courthouse                                                       CASE NUMBER:
                                                                                                                              (Número del Caso):
          (El nombre y dirección de la corte es):
           111 North Hill Street
           Los Angeles, CA 90012

           The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
           (El nombre, la dirección y el número de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):

           Navid Kanani, Esq., 20501 Ventura Boulevard, Suite 165, Woodland Hills, CA 91364, (818) 330-4515
           DATE:                                                               Clerk, by                                                                                    , Deputy
           (Fecha)                                                             (Secretario)                                                                                  (Adjunto)
          (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
          (Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010)).
                                            NOTICE TO THE PERSON SERVED: You are served
            [SEAL]
                                            1.      as an individual defendant.
                                            2.      as the person sued under the fictitious name of (specify):


                                                    3.          on behalf of (specify):

                                                         under:            CCP 416.10 (corporation)                                     CCP 416.60 (minor)
                                                                           CCP 416.20 (defunct corporation)                             CCP 416.70 (conservatee)
                                                                           CCP 416.40 (association or partnership)                      CCP 416.90 (authorized person)
                                                                        other (specify):
                                                    4.          by personal delivery on (date):
                                                                                                                                                                               Page 1 of 1
            Form Adopted for Mandatory Use
              Judicial Council of California
                                                                                        SUMMONS                                                      Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                                       www.courtinfo.ca.gov
              SUM-100 [Rev. July 1, 2009]
                                                                                                                                          EXHIBIT 1, PAGE 4
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 7 of 93 Page ID #:27




                     EXHIBIT 2
Electronically FILED by Superior Court of California, County of Los Angeles on 03/25/2022 05:26 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                   Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 8 of 93 Page ID #:28
                                                   22STCV10468
                                        Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Richard Fruin




             1
                      NAVID KANANI, ESQ. (SBN 270797)
                      LEONA KIWAN, ESQ. (SBN 322148)
             2        JS ABRAMS LAW, PC
                      20501 Ventura Blvd., Suite 165
             3        Woodland Hills, California 91364
                      Phone (818) 330-4515 | Fax: (818) 330-4138
             4        Email: Navid@jsafirm.com
                             Leona@jsafirm.com
             5

             6        Attorneys for Plaintiff,
                      BRIAN TOLK
             7

             8                                  SUPERIOR COURT FOR THE STATE OF CALIFORNIA

             9                                                         COUNTY OF LOS ANGELES

            10
                                                           )
            11                                             ) Case No.: _________________________
                      BRIAN TOLK, an individual;           )
            12                                             ) PLAINTIFF’S           COMPLAINT           FOR
                                                           ) DAMAGES FOR:
                                                           )
            13                                             )
                              Plaintiff,                      1. Wrongful Termination in Violation of Public
                                                           )      Policy;
            14                                             )  2. Violation of Labor Code Section 226.8-
                                                           )      Misclassification;
            15                                             )
                       Vs.                                    3. Retaliation in Violation of Public Policy
                                                           )      and Labor Code Section 1102.5;
            16                                             )
                                                           )  4.  Unfair Business Practices; and
            17                                             )  5.  Declaratory Relief
                      ROYALE INTERNATIONAL COURIERS)
            18        LTD.;       ROYALE      INTERNATIONAL)
                      COURIERS,           INC.;      ROYALE)   DEMAND FOR JURY TRIAL
            19        INTERNATIONAL; and DOES 1 to 100,)
                      Inclusive.                           )
            20                                             )
                                                           )
            21                Defendants.                  )
                                                           )
            22

            23
                                 COMES NOW Plaintiff BRIAN TOLK (hereinafter “Plaintiff”) and alleges and complains
            24
                      against         Defendants             ROYALE               INTERNATIONAL                       COURIERS                 LTD.,          ROYALE
            25
                      INTERNATIONAL COURIERS, INC., and ROYALE INTERNATIONAL (hereinafter collectively
            26
                      referred to as “Defendants”) and DOES 1 to 100, Inclusive as follows:
            27
                                                                                               -1-
            28
                                                                  PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                                                                          EXHIBIT 2, PAGE 5
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 9 of 93 Page ID #:29



1
                                     I. JURISDICTION AND VENUE
2
             1.     Jurisdiction and venue are proper in this Court because all of the claims alleged
3
      herein arose in Los Angeles County and all of the parties were and/or are residents of Los Angeles
4
      County or are doing or did business in Los Angeles County at all times relevant herein.
5
             2.     The amount in controversy herein is within the jurisdictional limit of this Court.
6
                                               III. PARTIES
7
             3.     Plaintiff, BRIAN TOLK was at all relevant times hereto an employee of Defendants,
8
      ROYALE INTERNATIONAL COURIERS LTD., ROYALE INTERNATIONAL COURIERS,
9
      INC., and ROYALE INTERNATIONAL. Plaintiff started his employment with the Defendants,
10
      being in or about March 2018, as a Contractor.
11
             4.     During his employment at Defendants, Plaintiff performed his duties in an
12
      exemplary and timely manner. Plaintiff was ultimately terminated on or about March 30, 2020.
13
             5.     Plaintiff is informed and believes and thereon alleges that Defendants, ROYALE
14
      INTERNATIONAL COURIERS LTD., ROYALE INTERNATIONAL COURIERS, INC., and
15
      ROYALE INTERNATIONAL, are and at all times mentioned in this complaint authorized to
16
      operate by the State of California and authorized and qualified to do business in the County of Los
17
      Angeles.
18
                      IV. DOE DEFENDANTS, AGENTS AND RATIFICATION
19
             6.     The true names or capacities, whether individual, associate or otherwise, of Doe
20
      Defendants 1-100, inclusive, are unknown to Plaintiff and, therefore, Plaintiff sues these Doe
21
      Defendants by such fictitious names. Plaintiff will seek leave of this Court to amend this
22
      Complaint to allege such names and capacities as soon as they are ascertained. Plaintiff is
23
      informed and believes and thereon alleges that each of these fictitiously named Defendants is
24
      responsible in some manner for the occurrences alleged herein, and that Plaintiff’s injuries and
25
      damages as alleged and set forth herein were proximately caused by such fictitiously named
26
      Defendants.
27
                                                       -2-
28
                                   PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                  EXHIBIT 2, PAGE 6
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 10 of 93 Page ID #:30



1
             7.     Each of the individual Defendants is sued individually and in his or her capacity as
2
      an agent, representative, manager, supervisor, independent contractor and/or employee of
3
      Corporate Defendants.
4
             8.     Plaintiff is informed and believes and thereon alleges that at all times relevant herein,
5
      each and every Defendants, including the Doe Defendants, acted in concert and in furtherance of
6
      each other’s interest. The acts of the individually named Defendants, as described herein, were
7
      known to and ratified by all Defendants. The acts and conduct of each and every Defendant, as
8
      described herein, which were intentional and/or harassing and/or were not a normal part of
9
      Plaintiff’s employment and were not the result of a legitimate business necessity.
10
             9.     Plaintiff is informed and believes and thereon alleges that at all times relevant herein,
11
      each and every act complained of herein was engaged in or ratified by an officer, director or
12
      managing agent of each corporate Defendant and was done with malice, oppression or fraud.
13
                   V. ALLEGATIONS COMMON TO ALL CAUSES OF ACTIONS
14
             10.    Plaintiff began his employment with Defendant on or around, March 26, 2019.
15
             11.    Plaintiff was forced to sign an independent contractor employment agreement as a
16
      condition of employment. Plaintiff was not an independent contractor.
17
             12.    Throughout Plaintiff’s employment, Plaintiff was treated as an employee of the
18
      company. Defendant maintained control and supervision over Plaintiff. Plaintiff was not free to
19
      seek other employment.
20
             13.    From the beginning of his employment with Defendant, Plaintiff was misclassified
21
      and as such incorrectly compensated.
22
             14.    Plaintiff complained about his misclassification as an independent contractor and
23
      complained about not being properly compensated. After those complaints, Defendants retaliated
24
      against Plaintiff and wrongfully terminated him on March 30, 2020.
25

26
      ///
27
                                                       -3-
28
                                   PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                     EXHIBIT 2, PAGE 7
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 11 of 93 Page ID #:31



1
                                           CAUSES OF ACTIONS
2
                                    FIRST CAUSE OF ACTION
3
       (Wrongful Termination In Violation Of Public Policy – Against All Corporate Defendants and
4                                  DOES 1 through 100, inclusive)

5            15.      The allegations set forth in Paragraphs 1 through 14 are re-alleged and incorporated

6     herein by reference.

7            16.      Plaintiff’s employment was wrongfully terminated in violation of fundamental

8     public policies of the State of California, including, without limitation, the right to oppose,

9     complain about or object to Defendant’s misclassification of Plaintiff’s employment relationship,

10    Defendant’s breaches of the employment agreement entered into between the parties; and local,

11    municipal, state and federal law violations, and other forms of violations of State and Federal law

12    as well as those fundamental public policies prohibiting termination based on an employee’s right

13    to request compensation for hours worked. Specifically, Defendants, and each of them, violated

14    without limitation:

15                 a. California Labor Code Sections 226.8 and 1102.5;

16                 b. California Business & Professions Code Section 17200, et seq.

17           17.      These fundamental public policies inure to the benefit of the public, and not just the

18    private interests of the employer and employee.

19           18.      The above acts by Defendant were wrongful and in violation of the fundamental

20    principles of the public policy of the State of California as reflected in its laws, objectives and

21    policies. Said laws, which establish these fundamental public policies include, without limitation:

22                 a. California Labor Code Sections 226.8 and 1102.5;

23                 b. California Business & Professions Code Section 17200, et seq. and all other statutes,

24                    which the evidence proves, were violated.

25           19.      Plaintiff was wrongfully terminated by Defendants in retaliation for complaining to

26    them about what Plaintiff reasonably believed in good faith and suspected was in fact illegal

27
                                                       -4-
28
                                    PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                    EXHIBIT 2, PAGE 8
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 12 of 93 Page ID #:32



1
      conduct that harmed the public as well as Defendants. Plaintiff was wrongfully terminated shortly
2
      after he refused to participate in activity which violated these laws. In violating California’s Labor
3
      Code’s prohibitions against terminating and discriminating against an employee based upon that
4
      employee’s complaints to his employer concerning the employer’s illegal business practices,
5
      Defendants’ termination of Plaintiff was in violation of fundamental public policies for the benefit
6
      of the public. Specifically, the public policy behind those statutes was the prevention of retaliation
7
      against and termination of an employee who has complained to his employer about its illegal
8
      business practices including misclassification, unpaid wages, and others.
9
             20.     Plaintiff’s complaints to Defendants concerning their illegal business practices, and
10
      his refusal to participate in Defendants’ illegal schemes was a motivating and substantial factor in
11
      Defendants’ retaliation against his and termination of his employment.
12
             21.    The acts complained of herein were engaged in or ratified by an officer, director or
13
      managing agent of each corporate Defendant and was done with malice, oppression or fraud.
14
             22.    As a direct and foreseeable result of the aforesaid acts of said Defendants, Plaintiff
15
      has lost and will continue to lose income and benefits in an amount to be proven at the time of
16
      trial. Plaintiff claims such amount as damages together with pre-judgment interest pursuant to
17
      Civil Code § 3287 and/or any other provision of law providing for pre-judgment interest.
18
             23.     As a result of the aforesaid acts of Defendants, Plaintiff claims damages for
19
      emotional distress, general anxiety, grief, shame, humiliation, embarrassment, anger,
20
      disappointment and worry, all to his damage, at a minimum, in excess of the maximum jurisdiction
21
      of the municipal court.
22
             24.     As a further direct and proximate result of the wrongful conduct of Defendant,
23
      Plaintiff has suffered general damages, losses in earnings, bonuses, deferred compensation,
24
      employment benefits, earning capacity, opportunities for advancement, work experience, and
25
      out-of-pocket expenses and consequential damages, with all of his damage in excess of the
26
      minimum subject matter jurisdiction of this Court and according to proof.
27
                                                       -5-
28
                                   PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                    EXHIBIT 2, PAGE 9
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 13 of 93 Page ID #:33



1

2
                                     SECOND CAUSE OF ACTION
3
       (Violation of Labor Code Section 226.8, et seq. – Against All Corporate Defendants and DOES 1
4                                         through 100, inclusive)

5             25.        The allegations set forth in paragraphs 1 through 24 of this Complaint are re-alleged

6     and incorporated herein by reference.

7             26.        At all times herein, Defendants were in violation of the protections of California

8     Labor Code § 226.8:
                         “(a) It is unlawful for any person or employer to engage in any of the following
9
                         activities:
10                        (1) Willful misclassification of an individual as an independent contractor.”
11            27.        At no time during his employment was Plaintiff classified as an employee of
12    Defendants. This misclassification was intentional and willful on the part of Defendants.
13            28.        As a direct and proximate result, Plaintiff has suffered damages in an amount to be
14    proven at trial.
                                       THIRD CAUSE OF ACTION
15
         (Retaliation in Violation of Public Policy and Labor Code §1102.5 – Against All Corporate
16                             Defendants and DOES 1 through 100, inclusive)
              29.   Plaintiff restates and incorporates by reference each and every allegation contained
17
      in paragraphs 1 through 28, inclusive, as though fully set forth herein.
18
              30.   Plaintiff’s employment was wrongfully terminated in violation of fundamental public
19
      policies of the State of California, including, without limitation, the right to object to, oppose,
20
      and/or report violations of the law, wages being withheld improperly and/or retaliation. These
21
      fundamental public policies inure to the benefit of the public, and not just to the private interests
22
      of the employer and employee.
23
              31.   Defendants wrongfully retaliated against Plaintiff, by treating Plaintiff as an
24
      employer instead as an independent contractor.
25
              32.   Pursuant to Labor Code Section 1102.5(b):
26

27
                                                          -6-
28
                                      PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                     EXHIBIT 2, PAGE 10
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 14 of 93 Page ID #:34



1
                    b) “An employer, or any person acting on behalf of the employer, shall not
2                   retaliate against an employee for disclosing information, or because the
                    employer believes that the employee disclosed or may disclose information, to a
3                   government or law enforcement agency, to a person with authority over the
                    employee or another employee who has the authority to investigate, discover, or
4                   correct the violation or noncompliance, or for providing information to, or
                    testifying before, any public body conducting an investigation, hearing, or
5
                    inquiry, if the employee has reasonable cause to believe that the information
6                   discloses a violation of state or federal statute, or a violation of or noncompliance
                    with a local, state, or federal rule or regulation, regardless of whether disclosing
7                   the information is part of the employee's job duties.”
8            33.   As set forth above, said actions by Defendants were wrongful and in violation of the

9     fundamental principles of the public policy of the State of California as reflected in its laws,

10    objectives, and policies. California law prohibits discharging or otherwise retaliating against an

11    employee because he or she has raised concerns of misclassification. These prohibitions are well-

12    established under the statutory, regulatory, and decisional laws of California, including, without

13    limitation, Business & Profession Code § 17200; Labor Code § 1102.5.

14           34.   As a direct and foreseeable result of the aforesaid acts of said Defendants, Plaintiff

15    has lost and will continue to lose income and benefits in an amount to be proven at the time of

16    trial. Plaintiff claims such amount as damages together with pre-judgment interest pursuant to Civil

17    Code section 3287 and/or any other provision of law providing for pre-judgment interest.

18           35.   The above-described acts of Defendants, by and through their managing agents,

19    officers, or directors, were engaged in with a deliberate, cold, callous, fraudulent, and intentional

20    manner in order to injure and damage Plaintiff and/or with a conscious disregard of Plaintiff and

21    Plaintiff’s rights. Such acts were despicable, and constitute malice, fraud, and/or oppression within

22    the meaning of Civil Code section 3294. Plaintiff requests an assessment of punitive damages

23    against Defendants, in an amount to be proven at the time of trial.

24                                   FOURTH CAUSE OF ACTION
         (Violation of Business and Professions Code Section 17200, et seq. – Against All Corporate
25                            Defendants and DOES 1 through 100, inclusive)
26           36.   The allegations set forth in paragraphs 1 through 35 of this Complaint are re-alleged
27
                                                       -7-
28
                                   PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                   EXHIBIT 2, PAGE 11
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 15 of 93 Page ID #:35



1
      and incorporated herein by reference.
2
             37.   California’s Unfair Competition Law, Business & Professions Code Section 17200
3
      et seq. (“UCL”), prohibits acts of unfair competition, which means and includes any “fraudulent
4
      business act or practice . . .” and conduct, which is “likely to deceive” and is “fraudulent” within
5
      the meaning of Section 17200.
6
             38.   Defendant’s violations of the labor statutes, outlined in the preceding causes of action
7
      or hereinafter, were unfair and/or unlawful and/or fraudulent and thus constitute unlawful business
8
      practices prohibited by Business & Professional Code §§ 17200 et seq. By means of these
9
      practices, Defendant gained an unfair competitive advantage with respect to other competing
10
      companies in California which adhered to lawful norms of business conduct.
11
             39.   An employer which practices retaliatory terminations, misclassifies employees, who
12
      promises “executive” level titles and job responsibilities, or other such practices which result in it
13
      realizing a significant savings in money and costs and/or an unfair competitive advantage based
14
      on misrepresentations, has an unfair competitive advantage over employers who are similarly
15
      situated and comply with the laws. Further, the UCL’s remedies are cumulative to other remedies
16
      available to Plaintiff. (Bus. & Prof. Code § 17205.) Therefore, injunctive relief under the UCL is
17
      an appropriate remedy where a business has engaged in an unlawful practice of firing an employee
18
      after the employee complained about being misclassified and improperly compensated.
19
             40.   The victims of these unfair, fraudulent and/or illegal business practices, include, but
20
      are not limited to Plaintiff and other employees, competing companies and similar franchises in
21
      the State of California, and the general public. Plaintiff is informed and believes and thereon
22
      alleges that Defendants, and each of them, performed the above-mentioned acts with the intent of
23
      gaining an unfair competitive advantage and thereby injuring Plaintiff directly, employees, other
24
      competitors, and the general public.
25
             41.   The acts constitute continuing and ongoing unlawful activities prohibited by Bus. &
26
      Prof. Code §§ 17000 et seq. and 17200 et seq., and justify the issuance of an injunction, and all
27
                                                       -8-
28
                                   PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                   EXHIBIT 2, PAGE 12
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 16 of 93 Page ID #:36



1
      remedies pursuant to Bus. & Prof. Code §§ 17203 and 17205.
2

3
                                          FIFTH CAUSE OF ACTION
4
         (Declaratory Relief – Against All Named Defendants and DOES 1 through 100, inclusive)
5            42.      The allegations set forth in paragraphs 1 through 41, of this Complaint are re-
6     alleged and incorporated herein by reference.
7            43.      Plaintiff is informed and believes and thereupon alleges that Defendants may
8     contend that Plaintiff is an independent contractor and was treated as such, and not as an employee.
9            44.      An actual controversy has arisen and now exists between Plaintiff and Defendants
10    concerning their respective rights and duties in that Plaintiff contends that at all relevant times he
11    was treated as an employee of Defendants and Plaintiff is informed and believes and thereupon
12    alleges that Defendants may assert that he was not.
13           45.      Plaintiff contends that declaring him an independent contractor is not permissible
14    under California law and, therefore, seeks a judicial determination of his rights and duties of the
15    parties, as follows:
16                 a. That Plaintiff is an independent contractor and not an employee of
17                    Defendants; and
18                 b. That Plaintiff is entitled to all the rights of an employee under California
19                    law.
20           46.      A judicial declaration is necessary and appropriate at this time under the
21    circumstances in order that Plaintiff may ascertain his rights and duties.
22

23         WHEREFORE, Plaintiff BRIAN TOLK pray for judgment against Defendants, and DOES
24    1-100 as follows:
25           1.       For back pay, front pay, and other special damages according to proof;
26           2.       For damages, including, but not limited to, all economic and non-economic
27
                                                       -9-
28
                                    PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                                   EXHIBIT 2, PAGE 13
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 17 of 93 Page ID #:37



1
                   damages;
2
            3.     For punitive damages, where allowed by law;
3
            4.     For a declaration of rights;
4
            5.     For pre-judgment and post-judgment interest on all damages awarded;
5
            6.     For all statutory penalties pursuant to Labor Code 226.8, 1102.5;
6
            7.     For reasonable attorney’s fees as allowed by law or contract;
7
            8.     For costs of suit incurred; and
8
            9.     For such other and further relief as the Court may deem just and proper.
9

10    Date: March 25, 2022                                JS ABRAMS LAW, PC

11

12                                                   By: _______________________
                                                           Navid Kanani, Esq.
13
                                                           Leona Kiwan, Esq.
14                                                         Attorneys for Plaintiff,
                                                           BRIAN TOLK
15

16
            ADDITIONALLY, Plaintiff BRIAN TOLK demand a jury trial of the present case.
17
      Date: March 25, 2022                             JS ABRAMS LAW, PC
18

19

20                                                   By: _______________________
                                                           Navid Kanani, Esq.
21                                                         Leona Kiwan, Esq.
                                                           Attorneys for Plaintiff,
22                                                         BRIAN TOLK
23

24

25

26

27
                                                      -10-
28
                                 PLAINTIFF’S COMPLAINT FOR DAMAGES


                                                                               EXHIBIT 2, PAGE 14
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 18 of 93 Page ID #:38




                      EXHIBIT 3
Electronically FILED by Superior Court of California, County of Los Angeles on 03/25/2022 05:26 PM Sherri R. Carter, Executive Officer/Clerk of Court, by N. Alvarez,Deputy Clerk
                  Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 19 of 93 Page ID #:39
                                                   22STCV10468



                Navid Kanani (SBN 270797)
                JS ABRAMS LAW P.C.
                20501 Ventura Boulevard, Suite 165
                Woodland Hills, CA 91364
                                 (818) 330-4515                                           (818) 330-4138
                                 navid@jsafirm.com
                                 Plaintiff, BRIAN TOLK
                                                         LOS ANGELES
                                   111 North Hill Street
                                   111 North Hill Street
                                   Los Angeles 90012
                                   Stanley Mosk Courthouse

                               Brian Tolk v. Royale International Couriers Ltd.,et al.

                                                                                                



                                                                         
                                                                                                                          
                                                                                                                           
                                                                                                                           
                                                                                                                          
                                                                                                                           
                                                                                                                          
                
                                                                          
                                                                         
                                                                                                                           
                                                                         
                                                                                                                          
                                                                                                                          
                
                                                                                                                          
                                                                                                                           
                                                                         
                                                                         
                                             
                                                                                                 
                                                                                                 
                                                                                              
                                                                                                                                                                 
                                                                 13; Wrongful termination, Misclassification, Retaliation
                                                
                March 25, 2022
          Navid Kanani, Esq.


            




            
            


            




                                                                                                                                       EXHIBIT 3, PAGE 15
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 20 of 93 Page ID #:40




                                                           EXHIBIT 3, PAGE 16
                                Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 21 of 93 Page ID #:41
 SHORT TITLE:                                                                                                            CASE NUMBER




                                                    CIVIL CASE COVER SHEET ADDENDUM AND
                                                            STATEMENT OF LOCATION
                                     (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)
                                     This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.



              Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
                                        Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

              Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

              Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                                        chosen.

                                                             Applicable Reasons for Choosing Court Filing Location (Column C )

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.                        7. Location where petitioner resides.
2. Permissive filing in central district.                                                               8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                                                9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                                                 10. Location of Labor Commissioner Office.
                                                                                                       11. Mandatory filing location (Hub Cases – unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                                       non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                                     A                                                        B                                                        C
                                          Civil Case Cover Sheet                                       Type of Action                                          Applicable Reasons -
                                                Category No.                                          (Check only one)                                          See Step 3 Above

                                                 Auto (22)              A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11
   Auto
   Tort




                                         Uninsured Motorist (46)        A7110 Personal Injury/Property Damage/Wrongful Death – Uninsured Motorist          1, 4, 11


                                                                        A6070 Asbestos Property Damage                                                     1, 11
                                              Asbestos (04)
                                                                        A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11
   Other Personal Injury/ Property
   Damage/ Wrongful Death Tort




                                           Product Liability (24)       A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11

                                                                        A7210 Medical Malpractice - Physicians & Surgeons                                  1, 4, 11
                                         Medical Malpractice (45)
                                                                        A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                                        A7250 Premises Liability (e.g., slip and fall)
                                                                                                                                                           1, 4, 11
                                             Other Personal
                                             Injury Property            A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                                           1, 4, 11
                                            Damage Wrongful                   assault, vandalism, etc.)
                                               Death (23)                                                                                                  1, 4, 11
                                                                        A7270 Intentional Infliction of Emotional Distress
                                                                                                                                                           1, 4, 11
                                                                        A7220 Other Personal Injury/Property Damage/Wrongful Death




   LASC CIV 109 Rev. 12/18
                                                                    CIVIL CASE COVER SHEET ADDENDUM                                                     Local Rule 2.3

   For Mandatory Use
                                                                       AND STATEMENT OF LOCATION                                                           Page 1 of 4
                                                                                                                                       EXHIBIT 3, PAGE 17
                             Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 22 of 93 Page ID #:42
SHORT TITLE:                                                                                                     CASE NUMBER




                                               A                                                        B                                               C Applicable
                                     Civil Case Cover Sheet                                        Type of Action                                    Reasons - See Step 3
                                           Category No.                                           (Check only one)                                         Above

                                       Business Tort (07)           A6029 Other Commercial/Business Tort (not fraud/breach of contract)              1, 2, 3
  Non-Personal Injury/ Property
  Damage/ Wrongful Death Tort




                                        Civil Rights (08)           A6005 Civil Rights/Discrimination                                                1, 2, 3

                                        Defamation (13)             A6010 Defamation (slander/libel)                                                 1, 2, 3

                                           Fraud (16)               A6013 Fraud (no contract)                                                        1, 2, 3

                                                                    A6017 Legal Malpractice                                                          1, 2, 3
                                  Professional Negligence (25)
                                                                    A6050 Other Professional Malpractice (not medical or legal)                      1, 2, 3

                                           Other (35)               A6025 Other Non-Personal Injury/Property Damage tort                             1, 2, 3

                                   Wrongful Termination (36)        A6037 Wrongful Termination                                                       1, 2, 3
         Employment




                                                                    A6024 Other Employment Complaint Case                                            1, 2, 3
                                     Other Employment (15)
                                                                    A6109 Labor Commissioner Appeals                                                 10

                                                                    A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful
                                                                                                                                                     2, 5
                                                                          eviction)
                                  Breach of Contract/ Warranty                                                                                       2, 5
                                              (06)                  A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negligence)
                                        (not insurance)                                                                                              1, 2, 5
                                                                    A6019 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                                     1, 2, 5
                                                                    A6028 Other Breach of Contract/Warranty (not fraud or negligence)
         Contract




                                                                    A6002 Collections Case-Seller Plaintiff                                          5, 6, 11
                                        Collections (09)
                                                                    A6012 Other Promissory Note/Collections Case                                     5, 11
                                                                    A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt                 5, 6, 11
                                                                          Purchased on or after January 1, 2014)

                                    Insurance Coverage (18)         A6015 Insurance Coverage (not complex)                                           1, 2, 5, 8

                                                                    A6009 Contractual Fraud                                                          1, 2, 3, 5
                                      Other Contract (37)           A6031 Tortious Interference                                                      1, 2, 3, 5
                                                                    A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)              1, 2, 3, 8, 9

                                    Eminent Domain/Inverse
                                                                    A7300 Eminent Domain/Condemnation                Number of parcels               2, 6
                                      Condemnation (14)
         Real Property




                                     Wrongful Eviction (33)         A6023 Wrongful Eviction Case                                                     2, 6

                                                                    A6018 Mortgage Foreclosure                                                       2, 6
                                    Other Real Property (26)        A6032 Quiet Title                                                                2, 6
                                                                    A6060 Other Real Property (not eminent domain, landlord/tenant, foreclosure)     2, 6

                                  Unlawful Detainer-Commercial
                                                                    A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)              6, 11
                                              (31)
         Unlawful Detainer




                                  Unlawful Detainer-Residential
                                                                    A6020 Unlawful Detainer-Residential (not drugs or wrongful eviction)             6, 11
                                              (32)
                                      Unlawful Detainer-
                                                                    A6020F Unlawful Detainer-Post-Foreclosure                                        2, 6, 11
                                     Post-Foreclosure (34)

                                  Unlawful Detainer-Drugs (38)      A6022 Unlawful Detainer-Drugs                                                    2, 6, 11



                                                                  CIVIL CASE COVER SHEET ADDENDUM                                                  Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                     AND STATEMENT OF LOCATION                                                       Page 2 of 4
 For Mandatory Use
                                                                                                                                  EXHIBIT 3, PAGE 18
                                         Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 23 of 93 Page ID #:43
SHORT TITLE:                                                                                                                CASE NUMBER




                                                           A                                                        B                                     C Applicable
                                                Civil Case Cover Sheet                                        Type of Action                           Reasons - See Step 3
                                                      Category No.                                           (Check only one)                                Above

                                                 Asset Forfeiture (05)          A6108 Asset Forfeiture Case                                            2, 3, 6

                                              Petition re Arbitration (11)      A6115 Petition to Compel/Confirm/Vacate Arbitration                    2, 5
      Judicial Review




                                                                                A6151 Writ - Administrative Mandamus                                   2, 8
                                                 Writ of Mandate (02)           A6152 Writ - Mandamus on Limited Court Case Matter                     2
                                                                                A6153 Writ - Other Limited Court Case Review                           2

                                              Other Judicial Review (39)        A6150 Other Writ /Judicial Review                                      2, 8

                                            Antitrust/Trade Regulation (03)     A6003 Antitrust/Trade Regulation                                       1, 2, 8
      Provisionally Complex Litigation




                                               Construction Defect (10)         A6007 Construction Defect                                              1, 2, 3

                                              Claims Involving Mass Tort
                                                                                A6006 Claims Involving Mass Tort                                       1, 2, 8
                                                         (40)

                                               Securities Litigation (28)       A6035 Securities Litigation Case                                       1, 2, 8

                                                      Toxic Tort
                                                                                A6036 Toxic Tort/Environmental                                         1, 2, 3, 8
                                                  Environmental (30)

                                             Insurance Coverage Claims
                                                                                A6014 Insurance Coverage/Subrogation (complex case only)               1, 2, 5, 8
                                               from Complex Case (41)

                                                                                A6141 Sister State Judgment                                            2, 5, 11
                                                                                A6160 Abstract of Judgment                                             2, 6
  Enforcement
  of Judgment




                                                     Enforcement                A6107 Confession of Judgment (non-domestic relations)                  2, 9
                                                   of Judgment (20)             A6140 Administrative Agency Award (not unpaid taxes)                   2, 8
                                                                                A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax         2, 8
                                                                                A6112 Other Enforcement of Judgment Case                               2, 8, 9

                                                      RICO (27)                 A6033 Racketeering (RICO) Case                                         1, 2, 8
  Civil Complaints
   Miscellaneous




                                                                                A6030 Declaratory Relief Only                                          1, 2, 8

                                                  Other Complaints              A6040 Injunctive Relief Only (not domestic/harassment)                 2, 8
                                              (Not Specified Above) (42)        A6011 Other Commercial Complaint Case (non-tort/non-complex)           1, 2, 8
                                                                                A6000 Other Civil Complaint (non-tort/non-complex)                     1, 2, 8

                                               Partnership Corporation
                                                                                A6113 Partnership and Corporate Governance Case                        2, 8
                                                  Governance (21)

                                                                                A6121 Civil Harassment With Damages                                    2, 3, 9
  Miscellaneous
  Civil Petitions




                                                                                A6123 Workplace Harassment With Damages                                2, 3, 9
                                                                                A6124 Elder/Dependent Adult Abuse Case With Damages                    2, 3, 9
                                                 Other Petitions (Not
                                                Specified Above) (43)           A6190 Election Contest                                                 2
                                                                                A6110 Petition for Change of Name/Change of Gender                     2, 7
                                                                                A6170 Petition for Relief from Late Claim Law                          2, 3, 8
                                                                                A6100 Other Civil Petition                                             2, 9




                                                                              CIVIL CASE COVER SHEET ADDENDUM                                        Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                                 AND STATEMENT OF LOCATION                                             Page 3 of 4
 For Mandatory Use
                                                                                                                                           EXHIBIT 3, PAGE 19
           Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 24 of 93 Page ID #:44
 SHORT TITLE:                                                                         CASE NUMBER




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
            type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
            (No address required for class action cases).

                                                                     ADDRESS:
   REASON:

       1.       2.   3.   4.   5.   6.   7.   8.   9.   10.    11.



   CITY:                                      STATE:     ZIP CODE:




Step 5: Certification of Assignment: I certify that this case is properly filed in the                                  District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated:
                                                                                  (SIGNATURE OF ATTORNEY/FILING PARTY)




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          must be served along with the summons and complaint, or other initiating pleading in the case.




                                              CIVIL CASE COVER SHEET ADDENDUM                                         Local Rule 2.3
  LASC CIV 109 Rev. 12/18
                                                 AND STATEMENT OF LOCATION                                               Page 4 of 4
  For Mandatory Use
                                                                                                    EXHIBIT 3, PAGE 20
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 25 of 93 Page ID #:45




                      EXHIBIT 4
       Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 26 of 93 Page ID #:46
                                                                                                Reserved for Clerk’s File Stamp
                  SUPERIOR COURT OF CALIFORNIA
                     COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
 Stanley Mosk Courthouse
 111 North Hill Street, Los Angeles, CA 90012

                   NOTICE OF CASE ASSIGNMENT
                          UNLIMITED CIVIL CASE

                                                                                 CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below. 22STCV10468

                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

                ASSIGNED JUDGE               DEPT     ROOM                  ASSIGNED JUDGE                       DEPT             ROOM
   ✔     Richard L. Fruin                   15




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
       03/28/2022
    on _____________________________                                        N. Alvarez
                                                                         By __________________________________, Deputy Clerk
                 (Date)
LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06                                                 EXHIBIT 4, PAGE 21
       Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 27 of 93 Page ID #:47
                                   INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT – UNLIMITED CIVIL CASE
LASC Approved 05/06                                                 EXHIBIT 4, PAGE 22
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 28 of 93 Page ID #:48




                      EXHIBIT 5
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 29 of 93 Page ID #:49



                               VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                  The Early Organizational Meeting Stipulation, Discovery
                               Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California
County of Los Angeles
                               voluntary stipulations entered into by the parties. The parties
                               may enter into one, two, or all three of the stipulations;
                               however, they may not alter the stipulations as written,
                               because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                               between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section         manner that promotes economic case resolution and judicial
                               efficiency.

                                  The    following   organizations    endorse    the   goal   of
Consumer Attorneys
Association of Los Angeles     promoting efficiency in litigation and ask that counsel
                               consider using these stipulations as a voluntary way to
                               promote communications and procedures among counsel
                               and with the court to fairly resolve issues in their cases.

                               Los Angeles County Bar Association Litigation Section
Southern California
Defense Counsel

                                          Los Angeles County Bar Association
                                             Labor and Employment Law Section

Association of
Business Trial Lawyers             Consumer Attorneys Association of Los Angeles


                                        Southern California Defense Counsel


                                        Association of Business Trial Lawyers

California Employment
Lawyers Association
                                    California Employment Lawyers Association


   LACIV 230 (NEW)                                                          EXHIBIT 5, PAGE 23
   LASC Approved 4-11
   For Optional Use
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 30 of 93 Page ID #:50



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
           STIPULATION – EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the “core” of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered “core.” In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                “core.”);

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11               STIPULATION – EARLY ORGANIZATIONAL MEETING
      For Optional Use                                                      EXHIBIT 5, PAGEPage
                                                                                            24 1 of 2
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 31 of 93 Page ID #:51
SHORT TITLE:                                                                      CASE NUMBER:




               discussed in the “Alternative Dispute Resolution (ADR) Information Package” served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourt.org under “Civil” and then under “General Information”).

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to ____________________ for the complaint, and ______________________ for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.org under “Civil”,
               click on “General Information”, then click on “Voluntary Efficient Litigation Stipulations”.

3.             The parties will prepare a joint report titled “Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties’
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to “days” mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 

                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)
Date:
                                                                 
                  (TYPE OR PRINT NAME)                                 (ATTORNEY FOR _____________________)


LACIV 229 (Rev 02/15)
                             STIPULATION – EARLY ORGANIZATIONAL MEETING
LASC Approved 04/11                                              EXHIBIT 5, PAGEPage
                                                                                 25 2 of 2
      Print                    Save                                                                     Clear
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 32 of 93 Page ID #:52

NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:

                     STIPULATION – DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

      1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
         the moving party first makes a written request for an Informal Discovery Conference pursuant
         to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.      File a Request for Informal Discovery Conference with the clerk’s office on the
                              approved form (copy attached) and deliver a courtesy, conformed copy to the
                              assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.      Serve the opposing party pursuant to any authorized or agreed method of service
                              that ensures that the opposing party receives the Request for Informal Discovery
                              Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION – DISCOVERY RESOLUTION
      For Optional Use                                                          EXHIBIT 5, PAGE 261 of 3
                                                                                              Page
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 33 of 93 Page ID #:53
SHORT TITLE:                                                                   CASE NUMBER:




               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         Informal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a “specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing,” within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to “days” mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                 EXHIBIT 5, PAGE 272 of 3
                                                                               Page
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 34 of 93 Page ID #:54
SHORT TITLE:                                                          CASE NUMBER:




The following parties stipulate:

Date:
                                                     
                (TYPE OR PRINT NAME)                               (ATTORNEY FOR PLAINTIFF)
Date:
                                                     
                (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
Date:
                                                     
                (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
Date:
                                                     
                (TYPE OR PRINT NAME)                              (ATTORNEY FOR DEFENDANT)
Date:
                                                     
                (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)
Date:
                                                     
                (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)
Date:
                                                     
                (TYPE OR PRINT NAME)                      (ATTORNEY FOR _____________________________)




        Print             Save                                                                Clear


LACIV 036 (new)
LASC Approved 04/11            STIPULATION – DISCOVERY RESOLUTION
For Optional Use                                                EXHIBIT 5, PAGE 283 of 3
                                                                              Page
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 35 of 93 Page ID #:55



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER                        Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                      CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
               (pursuant to the Discovery Resolution Stipulation of the parties)
      1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request: ________________                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference: ________________                                (insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LACIV 094 (new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
                                        (pursuant to the Discovery Resolution Stipulation of the parties)
      For Optional Use                                                                             EXHIBIT 5, PAGE 29
             Print                      Save                                                                     Clear
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 36 of 93 Page ID #:56



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                 STATE BAR NUMBER            Reserved for Clerk’s File Stamp




          TELEPHONE NO.:                                  FAX NO. (Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                           CASE NUMBER:
              STIPULATION AND ORDER – MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

      1. At least ____ days before the final status conference, each party will provide all other
         parties with a list containing a one paragraph explanation of each proposed motion in
         limine. Each one paragraph explanation must identify the substance of a single proposed
         motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side’s portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties’ respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075 (new)
      LASC Approved 04/11               STIPULATION AND ORDER – MOTIONS IN LIMINE
      For Optional Use                                                       EXHIBIT 5, PAGE 301 of 2
                                                                                           Page
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 37 of 93 Page ID #:57
SHORT TITLE:                                                     CASE NUMBER:




The following parties stipulate:

Date:
                                                  
               (TYPE OR PRINT NAME)                         (ATTORNEY FOR PLAINTIFF)
Date:
                                                  
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
Date:
                                                  
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
Date:
                                                  
               (TYPE OR PRINT NAME)                        (ATTORNEY FOR DEFENDANT)
Date:
                                                  
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR _____________________)
Date:
                                                  
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR _____________________)
Date:
                                                  
               (TYPE OR PRINT NAME)                    (ATTORNEY FOR _____________________)



THE COURT SO ORDERS.

  Date:
                                                                 JUDICIAL OFFICER




       Print              Save                                                         Clear

LACIV 075 (new)
                         STIPULATION AND ORDER – MOTIONS IN LIMINE
LASC Approved 04/11                                           EXHIBIT 5, PAGE 312 of 2
                                                                            Page
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 38 of 93 Page ID #:58




 2
                                                                         FILED
                                                                      LOS ANGELES SUPERIOR COURT

 3                                                                            MAY 11 2011
 4                                                                       JOHN A CLAAKE,AL.EAK
                                                                             :"1( j~.YtU1tJ,N
 5                                                                     BY NANCV~AVAARO, DEPUTY

 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES
 9
       General Order Re                           )         ORDER PURSUANT TO CCP 1054(a),
10
       Use of Voluntary Efficient Litigation      )         EXTENDING TIME TO RESPOND BY
11     Stipulations                               )         30 DAYS WHEN PARTIES AGREE
                                                  )         TO EARLY ORGANIZATIONAL
12                                                )         MEETING STIPULATION
13

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
       drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;

19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
       Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
       Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23     Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24     Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
       litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
       promote communications and procedures among counsel and with the court to fairly
27
       resolve issues in their cases;"
28

                                                      -1-

                                  0RDER PURSUANT TO CCP 1054(a)                EXHIBIT 5, PAGE 32
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 39 of 93 Page ID #:59




              Whereas the Early Organizational Meeting Stipulation is intended to encourage

 2     cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencies;
 4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
       will promote economic case resolution and judicial efficiency;
 6

 7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

 8     Early Organizational Meeting and potentially to reduce the need for motions to

 9     challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
       Organizational Meeting before the time to respond to a complaint or cross complaint
11
       has expired;
12

13
              Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14     which an action is pending to extend for not more than 30 days the time to respond to
15
       a pleading "upon good cause shown";
16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
       days the time to respond to a complaint or to a cross complaint in any action in which
18

19     the parties have entered into the Early Organizational Meeting Stipulation. This finding

20     of good cause is based on the anticipated judicial efficiency and benefits of economic
21
       case resolution that the Early Organizational Meeting Stipulation is intended to
22
       promote .
23
              IT IS HEREBY ORDERED that, in any case in which the parties have entered
24

25     into an Early Organizational Meeting Stipulation, the time for a defending party to

26     respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                  -2-

                                  0RDER PURSUANT TO CCP 1054(a)            EXHIBIT 5, PAGE 33
           Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 40 of 93 Page ID #:60
,,.

             by Code of Civil Procedure section 1054(a) without further need of a specific court

       2     order.




       :     DATED:   ltu5 ~ Joi/                     Carolyn B. Kuh Supervising Judge of the
                                                      Civil Departments, Los Angeles Superior Court
       6

       7

       8

       9

      10

      11

      12

      13

      14

      15

      16

      17

      18

      19

      20

      21

      22

      23

      24

      25

      26

      27

      28

                                                       -3-

                                      0RDER PURSUANT TO CCP 1054(a)
                                                                                EXHIBIT 5, PAGE 34
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 41 of 93 Page ID #:61




                      EXHIBIT 6
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 42 of 93 Page ID #:62

                    Superior Court of California, County of Los Angeles


                         ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                INFORMATION PACKAGE
 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.



What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   • Saves Money: Parties can save on court costs, attorney’s fees, and witness fees.
   • Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   • Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.

Disadvantages of ADR
    • Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
    • No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR
    1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
       settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

    2. Mediation: In mediation, a neutral mediator listens to each person’s concerns, helps them evaluate the
       strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
       acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                 Mediation may be appropriate when the parties
                   • want to work out a solution but need help from a neutral person.
                   • have communication problems or strong emotions that interfere with resolution.
                 Mediation may not be appropriate when the parties
                   • want a public trial and want a judge or jury to decide the outcome.
                   • lack equal bargaining power or have a history of physical/emotional abuse.



    LASC CIV 271 Rev. 04/21
    For Mandatory Use
                                                                                                                 Page 1 of 2

                                                                                         EXHIBIT 6, PAGE 35
   Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 43 of 93 Page ID #:63




                                  How to Arrange Mediation in Los Angeles County

      Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a “Resource List Mediation” for mediation at reduced cost or no cost (for selected
              cases).

                    •     ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.com
                          (949) 863-9800
                    •     JAMS, Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                    •     Mediation Center of Los Angeles Program Manager info@mediationLA.org
                          (833) 476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-23October19-Current-as-of-October-2019-1.pdf

               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution (ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about (ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In “binding” arbitration, the arbitrator’s
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator’s decision. For more information about arbitration, visit
      http://www.courts.ca.gov/programs-adr.htm

      4. Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court’s MSC
      programs for civil cases, visit http://www.lacourt.org/division/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.org/division/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


LASC CIV 271 Rev. 04/21
For Mandatory Use                                                                                      Page 2 of 2
                                                                                            EXHIBIT 6, PAGE 36
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 44 of 93 Page ID #:64




                      EXHIBIT 7
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 45 of 93 Page ID #:65
                                                                                                  2019-GEN-O14-00

                                                                                     FILED
                                                                              Superior Court of California
1                                                                               County of Los Angeles

2                                                                                  MAY. 0 .3 2019
 3
4

 5
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 6
                                    FOR THE COUNTY OF LOS ANGELES
 7
 8    IN RE LOS ANGELES SUPERIOR COURT )                 FIRST AMENDED GENERAL ORDER
      - MANDATORY ELECTRONIC FILING )
 9    FOR CIVIL                        )
                                                     )
10                                                   )
11    ___________                                    )

12           On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all
13    documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los
14    Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex
15    Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)
16    All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the
17    following:
18    1) DEFINITIONS
19       a) "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to
20           quickly locate and navigate to a designated point of interest within a document.
21       b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling
22           portal, that gives litigants access to the approved Electronic Filing Service Providers.
23       c) "Electronic Envelope" A transaction through the electronic service provider for submission
24           of documents to the Court for processing which may contain one or more PDF documents
25           attached.
26       d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a
27           document in electronic form. (California Rules of Court, rule 2.250(b)(7).)
28


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                  EXHIBIT 7, PAGE 37
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 46 of 93 Page ID #:66
                                                                                                2019-GEN-O14-00



1       e) "Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a
2           person or entity that receives an electronic filing from a party for retransmission to the Court.
3           In the submission of filings, the EFSP does so on behalf of the electronic filer and not as an
4           agent of the Court. (California Rules of Court, rule 2.250(b)(8).)
5        f) "Electronic Signature" For purposes of these local rules and in conformity with Code of
6           Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision
7           (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule
8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or
 9          process attached to or logically associated with an electronic record and executed or adopted
10          by a person with the intent to sign the electronic record.
11       g) "Hyperlink" An electronic link providing direct access from one distinctively marked place
12          in a hypertext or hypermedia document to another in the same or different document.
13       h) "Portable Document Format" A digital document format that preserves all fonts,
14          formatting, colors and graphics of the original source document, regardless of the application
15          platform used.
16    2) MANDATORY ELECTRONIC FILING
17       a) Trial Court Records
18          Pursuant to Government Code section 68150, trial court records may be created, maintained,
19          and preserved in electronic format. Any document that the Court receives electronically must
20          be clerically processed and must satisfy all legal filing requirements in order to be filed as an
21          official court record (California Rules of Court, rules 2.100, et seq. and 2.253(b)(6)).
22       b) Represented Litigants
23          Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to
24          electronically file documents with the Court through an approved EFSP.
25       c) Public Notice
26          The Court has issued a Public Notice with effective dates the Court required parties to
27          electronically file documents through one or more approved EFSPs. Public Notices containing
28           effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.


                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                  EXHIBIT 7, PAGE 38
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 47 of 93 Page ID #:67
                                                                                                  2019-GEN-O 14-00



1          d) Documents in Related Cases
2             Documents in related cases must be electronically filed in the eFiling portal for that case type if
3             electronic filing has been implemented in that case type, regardless of whether the case has
4             been related to a Civil case.
5     3) EXEMPT LITIGANTS
6          a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt
7             from mandatory electronic filing requirements.
8          b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of
9             Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused
10            from filing documents electronically and be permitted to file documents by conventional
11            means if the party shows undue hardship or significant prejudice.

12    4) EXEMPT FILINGS
13         a) The following documents shall not be filed electronically:
14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of
15                   Civil Procedure sections 170.6 or 170.3;
16            ii)    Bonds/Undertaking documents;
17            iii)   Trial and Evidentiary Hearing Exhibits
18            iv)    Any ex parte application that is filed concurrently with a new complaint including those
19                   that will be handled by a Writs and Receivers department in the Mask courthouse; and
20            v)     Documents submitted conditionally under seal. The actual motion or application shall be
21                   electronically filed. A courtesy copy of the electronically filed motion or application to
22                   submit documents conditionally under seal must be provided with the documents
23                   submitted conditionally under seal.
24         b) Lodgments
25            Documents attached to a Notice of Lodgment shall be lodged and /or served conventionally in
26    paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.
27    //
28    //


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                    EXHIBIT 7, PAGE 39
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 48 of 93 Page ID #:68
                                                                                                 2019-GEN-O14-00



1     5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES
2        Electronic filing service providers must obtain and manage registration information for persons
3        and entities electronically filing with the court.
4     6) TECHNICAL REQUIREMENTS
5        a) Electronic documents must be electronically filed in PDF, text searchable format when
6            technologically feasible without impairment of the document's image.
7        b) The table of contents for any filing must be bookmarked.
8        c) Electronic documents, including but not limited to, declarations, proofs of service, and
9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule
10           3.l 110(f)(4). Electronic bookmarks must include links to the first page of each bookmarked
11           item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the
12           bookedmarked item and briefly describe the item.
13       d) Attachments to primary documents must be bookmarked. Examples include, but are not
14           limited to, the following:
15           i)     Depositions;
16           ii)    Declarations;
17           iii)   Exhibits (including exhibits to declarations);
18           iv)    Transcripts (including excerpts within transcripts);
19           v)     Points and Authorities;
20           vi)    Citations; and
21           vii) Supporting Briefs.
22       e) Use of hyperlinks within documents (including attachments and exhibits) is strongly
23           encouraged.
24       f) Accompanying Documents
25           Each document acompanying a single pleading must be electronically filed as a separate
26           digital PDF document.
27       g) Multiple Documents
28           Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                  EXHIBIT 7, PAGE 40
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 49 of 93 Page ID #:69
                                                                                                 2019-GEN-O14-00



1        h) Writs and Abstracts
2           Writs and Abstracts must be submitted as a separate electronic envelope.
3        i) Sealed Documents
4           If and when a judicial officer orders documents to be filed under seal, those documents must be
5           filed electronically (unless exempted under paragraph 4); the burden of accurately designating
6           the documents as sealed at the time of electronic submission is the submitting party's
7           responsibility.
8        j) Redaction
 9          Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to
10          redact confidential information (such as using initials for names of minors, using the last four
11          digits of a social security number, and using the year for date of birth) so that the information
12          shall not be publicly displayed.
13    7) ELECTRONIC FILING SCHEDULE
14       a) Filed Date
15          i) Any document received electronically by the court between 12:00 am and 11:59:59 pm
16              shall be deemed to have been effectively filed on that court day if accepted for filing. Any
17              document received electronically on a non-court day, is deemed to have been effectively
18              filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code
19              Civ. Proc. § 1010.6(b)(3).)
20          ii) Notwithstanding any other provision of this order, if a digital document is not filed in due
21              course because of: (1) an interruption in service; (2) a transmission error that is not the
22              fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may
23              order, either on its own motion or by noticed motion submitted with a declaration for Court
24              consideration, that the document be deemed filed and/or that the document's filing date
25              conform to the attempted transmission date.
26    8) EX PARTE APPLICATIONS
27       a) Ex parte applications and all documents in support thereof must be electronically filed no later
28          than 10:00 a.m. the court day before· the ex parte hearing.


                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                  EXHIBIT 7, PAGE 41
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 50 of 93 Page ID #:70
                                                                                               2019-GEN-014-00



1        b) Any written opposition to an ex parte application must be electronically filed by 8:30 a.m. the
2           day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte
3           application must be provided to the court the day of the ex parte hearing.
4     9) PRINTED COURTESY COPIES
5        a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must
6           be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled.    If

7           the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom
8           by 10:00 a.m. the next business day.
9        b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of
10          electronic submission) is required for the following documents:
11           i)   Any printed document required pursuant to a Standing or General Order;
12          ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26
13                pages or more;
14         iii)   Pleadings and motions that include points and authorities;
15         iv)    Demurrers;
16          v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;
17          vi)   Motions for Summary Judgment/Adjudication; and
18         vii)   Motions to Compel Further Discovery.
19       c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of
20          additional documents. Courtroom specific courtesy copy guidelines can be found at
21          www.lacourt.org on the Civil webpage under "Courtroom Information."
22    0) WAIYER OF FEES AND COSTS FOR ELECTRONICALLY FILED DOCUMENTS
23       a) Fees and costs associated with electronic filing must be waived for any litigant who has
24           received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc.§
25           1010.6(d)(2).)
26       b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure
27           section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(t), may be
28           electronically filed in any authorized action or proceeding.

                       FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                EXHIBIT 7, PAGE 42
     Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 51 of 93 Page ID #:71
                                                                                                2019-GEN-O 14-00




1     1) SIGNATURES ON ELECTRONIC FILING
2        For purposes of this General Order, all electronic filings must be in compliance with California
3        Rules of Court, rule 2.257. This General Order applies to documents filed within the Civil
4        Division of the Los Angeles County Superior Court.
5

6            This First Amended General Order supersedes any previous order related to electronic filing,
7     and is effective immediately, and is to remain in effect until otherwise ordered by the Civil
8     Supervising Judge and/or Presiding Judge.
9
10    DATED: May 3, 2019
11
                                                           Presiding Judge
12

13
14

15
16

17

18
19

20
21

22
23

24
25

26
27
28


                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                  EXHIBIT 7, PAGE 43
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 52 of 93 Page ID #:72




                      EXHIBIT 8
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 53 of 93 Page ID #:73




         May 16, 2022




                                                           EXHIBIT 8, PAGE 44
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 54 of 93 Page ID #:74



   1                                         PROOF OF SERVICE
                              Brian Tolk v. Royale International Couriers, Ltd., et al.
   2                                         Case No. 22STCV10468
   3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
       action in which this service is made. At all times herein mentioned I have been employed in the
   4   County of Los Angeles, in the office of a member of the bar of this court at whose direction the
       service was made. My business address is 400 South Hope Street, Suite 1200, Los Angeles, CA
   5   90071, my electronic service address is elizabeth.mendoza@ogletree.com.
   6          On May 16, 2022, I served the following document(s):
   7                            NOTICE AND ACKNOWLEDGMENT OF
                             RECEIPT – CIVIL – ROYALE INTERNATIONAL
   8                                      COURIERS LTD
   9   On the interested parties in this action, addressed as follows:
  10   Navid Kanani, Esq.                                     Attorneys for Plaintiff,
       Leona Kiwan, Esq.                                      Brian Tolk
  11   JS ABRAMS LAW, PC
       20501 Ventura Blvd., Suite 165
  12   Woodland Hills, CA 91364
       Telephone: (818) 330-4515
  13   Facsimile: (818) 330-4138
       Email:     Navid@jsafirm.com
  14              Leona@jsafirm.com
  15          BY MAIL: I placed the envelope for collection and mailing, following our ordinary
              business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
  16          Smoak & Stewart P.C.’s practice for collecting and processing correspondence for mailing.
              On the same day that correspondence is placed for collection and mailing, it is deposited in
  17          the ordinary course of business with the United States Postal Service, in a sealed envelope
              with postage fully prepaid.
  18
              BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
  19          agreement of the parties to accept service by e-mail or electronic transmission, I caused the
              documents to be sent to the person[s] at the e-mail addresses listed above. I did not receive,
  20          within a reasonable time after the transmission, any electronic message or other indication
              that the transmission was unsuccessful.
  21
              (State) I declare under penalty of perjury under the laws of the State of California that the
  22          above is true and correct.
  23          Executed on May 16, 2022, at Los Angeles, California.
  24   Elizabeth Mendoza                                            /s/ Elizabeth Mendoza
  25   Type or Print Name                                           Signature
  26

  27

  28

                                                         1
                                                 PROOF OF SERVICE             EXHIBIT 8, PAGE 45
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 55 of 93 Page ID #:75




          May 16, 2022




                                                           EXHIBIT 8, PAGE 46
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 56 of 93 Page ID #:76



   1                                         PROOF OF SERVICE
                              Brian Tolk v. Royale International Couriers, Ltd., et al.
   2                                         Case No. 22STCV10468
   3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
       action in which this service is made. At all times herein mentioned I have been employed in the
   4   County of Los Angeles, in the office of a member of the bar of this court at whose direction the
       service was made. My business address is 400 South Hope Street, Suite 1200, Los Angeles, CA
   5   90071, my electronic service address is elizabeth.mendoza@ogletree.com.
   6          On May 16, 2022, I served the following document(s):
   7                            NOTICE AND ACKNOWLEDGMENT OF
                             RECEIPT – CIVIL – ROYALE INTERNATIONAL
   8                                      COURIERS, INC.
   9   On the interested parties in this action, addressed as follows:
  10   Navid Kanani, Esq.                                     Attorneys for Plaintiff,
       Leona Kiwan, Esq.                                      Brian Tolk
  11   JS ABRAMS LAW, PC
       20501 Ventura Blvd., Suite 165
  12   Woodland Hills, CA 91364
       Telephone: (818) 330-4515
  13   Facsimile: (818) 330-4138
       Email:     Navid@jsafirm.com
  14              Leona@jsafirm.com
  15          BY MAIL: I placed the envelope for collection and mailing, following our ordinary
              business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
  16          Smoak & Stewart P.C.’s practice for collecting and processing correspondence for mailing.
              On the same day that correspondence is placed for collection and mailing, it is deposited in
  17          the ordinary course of business with the United States Postal Service, in a sealed envelope
              with postage fully prepaid.
  18
              BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
  19          agreement of the parties to accept service by e-mail or electronic transmission, I caused the
              documents to be sent to the person[s] at the e-mail addresses listed above. I did not receive,
  20          within a reasonable time after the transmission, any electronic message or other indication
              that the transmission was unsuccessful.
  21
              (State) I declare under penalty of perjury under the laws of the State of California that the
  22          above is true and correct.
  23          Executed on May 16, 2022, at Los Angeles, California.
  24   Elizabeth Mendoza                                            /s/ Elizabeth Mendoza
  25   Type or Print Name                                           Signature
  26

  27

  28

                                                         1
                                                 PROOF OF SERVICE             EXHIBIT 8, PAGE 47
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 57 of 93 Page ID #:77




             May 16, 2022




                                                           EXHIBIT 8, PAGE 48
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 58 of 93 Page ID #:78



   1                                         PROOF OF SERVICE
                              Brian Tolk v. Royale International Couriers, Ltd., et al.
   2                                         Case No. 22STCV10468
   3           I am and was at all times herein mentioned over the age of 18 years and not a party to the
       action in which this service is made. At all times herein mentioned I have been employed in the
   4   County of Los Angeles, in the office of a member of the bar of this court at whose direction the
       service was made. My business address is 400 South Hope Street, Suite 1200, Los Angeles, CA
   5   90071, my electronic service address is elizabeth.mendoza@ogletree.com.
   6          On May 16, 2022, I served the following document(s):
   7                            NOTICE AND ACKNOWLEDGMENT OF
                             RECEIPT – CIVIL – ROYALE INTERNATIONAL
   8
       On the interested parties in this action, addressed as follows:
   9
       Navid Kanani, Esq.                                     Attorneys for Plaintiff,
  10   Leona Kiwan, Esq.                                      Brian Tolk
       JS ABRAMS LAW, PC
  11   20501 Ventura Blvd., Suite 165
       Woodland Hills, CA 91364
  12   Telephone: (818) 330-4515
       Facsimile: (818) 330-4138
  13   Email:     Navid@jsafirm.com
                  Leona@jsafirm.com
  14
              BY MAIL: I placed the envelope for collection and mailing, following our ordinary
  15          business practices. I am readily familiar with the practice of Ogletree, Deakins, Nash,
              Smoak & Stewart P.C.’s practice for collecting and processing correspondence for mailing.
  16          On the same day that correspondence is placed for collection and mailing, it is deposited in
              the ordinary course of business with the United States Postal Service, in a sealed envelope
  17          with postage fully prepaid.
  18          BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on a court order or an
              agreement of the parties to accept service by e-mail or electronic transmission, I caused the
  19          documents to be sent to the person[s] at the e-mail addresses listed above. I did not receive,
              within a reasonable time after the transmission, any electronic message or other indication
  20          that the transmission was unsuccessful.
  21          (State) I declare under penalty of perjury under the laws of the State of California that the
              above is true and correct.
  22
              Executed on May 16, 2022, at Los Angeles, California.
  23
       Elizabeth Mendoza                                            /s/ Elizabeth Mendoza
  24
       Type or Print Name                                           Signature
  25
  26

  27

  28

                                                         1
                                                 PROOF OF SERVICE             EXHIBIT 8, PAGE 49
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 59 of 93 Page ID #:79




                    EXHIBIT 9a
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 60 of 93 Page ID #:80


NAVARRO v. DHL GLOBAL FORWARDING, JVR No. 1708160028 (2017)




                 JVR No. 1708160028, 2017 WL 3503541 (C.D.Cal.) (Verdict and Settlement Summary)


                                           Copyright (c) 2019 Thomson Reuters/West
                                    United States District Court, C.D. California.

                                    NAVARRO v. DHL GLOBAL FORWARDING

                                                2:15CV05510
                                        DATE OF FILING: April 10, 2015
                                   DATE OF TRIAL/SETTLEMENT: May 22, 2017

SUMMARY
Outcome: Plaintiff Verdict
Total: $1,530,000

Related Court Documents:
Plaintiff’s complaint: 2015 WL 13450131

Defendant’s trial brief: 2017 WL 2842616


EXPERT-WITNESSES:
ATTORNEY:
Plaintiff:
James A. Otto, Law Office of James A. Otto, Northridge, CA
Regina Ashkinadze, Elkin Gamboa & Ashkinadze L.L.P., Glendale, CA
Defendant:
Anthony C White, Thompson Hine L.L.P., Columbus, OH
John A. Conkle, Conkle, Kremer & Engel, Santa Monica, CA
Zachary Page, Conkle, Kremer & Engel, Santa Monica, CA
JUDGE: Christina A. Snyder

RANGE AMOUNT: $1,000,000 - 1,999,999


STATE: California
COUNTY: Not Applicable

SUMMARY
PLAINTIFF:
Sex: M

Age: Adult, 55

General Occupation: Truck Driver


DEFENDANT:
Sex: O

Organization Type: DHL Global Forwarding


                 © 2022 Thomson Reuters. No claim to original U.S. Government Works.                       1

                                                                                     EXHIBIT 9a, PAGE 50
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 61 of 93 Page ID #:81


NAVARRO v. DHL GLOBAL FORWARDING, JVR No. 1708160028 (2017)



DAMAGES:
Compensatory Pain & Suffering: $765,000

Compensatory Past Wages: $300,000

Compensatory Future Wages: $465,000

Total Compensatory Award: $1,530,000


ADVERSE ACTION
Closer Supervision: false

Constructive Discharge: false

Demotion: false

Denial Tenure: false

Failure Accomodate: true

Failure Grant Leave: false

Failure Hire: false

Failure Promote: false

Suspension: false

Sexual Harassment: false

Harassment: false

Hostile Work Env: false

Isolation: false

Lay Off: false

Loss Benefits: false

Loss Pay: false

Loss Seniority: false

Negative Eval: false

Negative Reference: false

Pay Increase Denial: false

Reassignment: false

Reduction Pay: false

                   © 2022 Thomson Reuters. No claim to original U.S. Government Works.                  2

                                                                                  EXHIBIT 9a, PAGE 51
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 62 of 93 Page ID #:82


NAVARRO v. DHL GLOBAL FORWARDING, JVR No. 1708160028 (2017)



Reprimands: false

Restrictions: false

Termination: true


Entity Type: Transportation Company
STATUTES
Primary Specific Statute
Primary Name: General


Primary General Statute
Primary Name: Wrongful Termination
Primary General Statute Discrimination: false

Specific Statute: State


General Statute: Disability Discrimination
General Statute Discrimination: true

Comparative Negligence Percentage: 0



FACTS:
Salvador Navarro sued DHL Global Forwarding for wrongful discharge in violation of public policy, failure to provide a
reasonable accommodation, failure to engage in an interactive process, disability discrimination, and failure to prevent
harassment, discrimination or retaliation. The plaintiff was reportedly employed by DHL from 1992 until his termination in
July 2013, when he was serving as a cargo handler and driver at the defendant’s Los Angeles International Airport facility.
Navarro claimed he had a disability that was known to the defendant, namely diabetes, and that he needed to take lunch
breaks to eat in order to maintain his blood sugar levels in a proper balance. The plaintiff said that on July 19, 2013, he was
ordered to make four deliveries and one pickup without taking a lunch break, and that he became dizzy as a result of his
diabetes and not having eaten. He claimed he stopped his truck for 10 minutes to drink water and eat an orange in order to
alleviate his dizziness, and that thereafter, the defendant fired him for this incident, which it characterized as an unauthorized
stop. The plaintiff contended he was wrongfully terminated in violation of public policies prohibiting discrimination based on
an employee’s disability. He brought additional causes of action under the Fair Employment and Housing Act (FEHA), Cal.
Gov’t. Code Sec. 12940 et seq., for disability discrimination, failure to provide a reasonable accommodation for his diabetes,
failure to engage in an interactive process to find a reasonable accommodation, and failure to take all reasonable steps to
prevent harassment, discrimination or retaliation. The defendant denied liability and contended Navarro was terminated for a
legitimate non-discriminatory reason. The defendant contended Navarro had a history of making unauthorized stops in his
truck and that as a result, he entered into a written agreement with DHL that any future unauthorized stop would result in his
termination. DHL claimed Navarro made an additional unauthorized stop and then lied to cover it up, and that this was the
basis for his termination. The jury found in favor of the plaintiff and awarded economic damages and emotional distress
damages. The jury found that DHL engaged in conduct with malice, oppression or fraud but declined to award punitive
damages.


Jury Verdict Research
COURT: USDC

End of Document                                                     © 2022 Thomson Reuters. No claim to original U.S. Government Works.



                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                               3

                                                                                                EXHIBIT 9a, PAGE 52
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 63 of 93 Page ID #:83


NAVARRO v. DHL GLOBAL FORWARDING, JVR No. 1708160028 (2017)




            © 2022 Thomson Reuters. No claim to original U.S. Government Works.                  4

                                                                           EXHIBIT 9a, PAGE 53
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 64 of 93 Page ID #:84




                    EXHIBIT 9b
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 65 of 93 Page ID #:85


Izaguirre vs. International Coffee & Tea LLC, 50 Trials Digest 16th 13 (2013)




            50 Trials Digest 16th 13, 2013 WL 6624243 (Cal.Super.) (Verdict and Settlement Summary)


                                          Copyright (c) 2019 Thomson Reuters/West
                                   Superior Court, Los Angeles County, California.

                                     Izaguirre vs. International Coffee & Tea LLC


TOPIC:
Synopsis: Injured barista claims employer failed to provide reasonable accommodation

Case Type: Labor & Employment; Discrimination; Labor & Employment; Disability/Medical Condition; Labor &
Employment; Retaliation; Labor & Employment; Termination/Constructive Discharge; Labor & Employment; Family &
Medical Leave

                                            DOCKET NUMBER: BC486877


STATE: California
COUNTY: Los Angeles
                                        Verdict/Judgment Date: September 26, 2013
JUDGE: Terry A. Green
ATTORNEYS:
Plaintiff: Jordan D. Bello, Lavi & Ebrahimian, Beverly Hills; N. Nick Ebrahimian, Lavi & Ebrahimian, Beverly Hills; Helen
U. Kim, deRubertis Law Firm, Studio City; David M. deRubertis, deRubertis Law Firm, Studio City.
Defendant: Keith A. Jacoby, Littler Mendelson, Los Angeles; Elizabeth Nguyen, Littler Mendelson, Los Angeles.

SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $125,000


Range: $100,000-199,999
$40,000 to plaintiff for past economic damages

$80,000 to plaintiff for past noneconomic damages

$5,000 to plaintiff for future noneconomic damages

Trial Type: Jury

Deliberations: Not reported.

Jury Poll: Not reported.


EXPERTS:
Plaintiff: Not reported.
Defendant: Not reported.



               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                    1

                                                                                       EXHIBIT 9b, PAGE 54
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 66 of 93 Page ID #:86


Izaguirre vs. International Coffee & Tea LLC, 50 Trials Digest 16th 13 (2013)



TEXT:

CASE INFORMATION

FACTS/CONTENTIONS
  According to court records: Plaintiff Martha Izaguirre worked as a barista for defendants International Coffee & Tea LLC
  and The Coffee Bean & Tea Leaf. On April 11, 2010, plaintiff fractured her wrist in a car accident. Plaintiff took a leave of
  absence from work to have treatment, including surgery performed April 20, 2012.
  On June 14, 2010, plaintiff’s doctor extended her leave until July 12, 2010. Plaintiff claimed that on July 8, 2010,
  defendants told her that her 12 weeks of FMLA leave had expired and she was required to contact her manager “within the
  next 24 hours to schedule [her] return to work to avoid termination.” Plaintiff claimed defendants also told her to provide a
  doctor’s note upon her return to work releasing her either with or without restrictions. Plaintiff claimed she went to her
  doctor and obtained a medical note allowing her to return to work with mild restrictions on the use of her hand for four
  weeks.
  Plaintiff claimed that a few hours into her shift on her first day back at work, defendant’s human resources department
  called and told her she could not continue working with the work restrictions provided by her doctor and that she needed to
  either get a doctor’s note revoking the work restrictions or she would be terminated.
  On July 19, 2010, defendants reportedly terminated plaintiff’s employment.
  Plaintiff alleged failure to provide reasonable accommodation, failure to engage in the interactive process, disability
  discrimination, retaliation and wrongful termination.
  Defendant denied liability and contended accommodating plaintiff’s condition created an undue hardship.



CLAIMED INJURIES
 NA



CLAIMED DAMAGES
 According to court records:
 Not reported.


SETTLEMENT DISCUSSIONS
According to court records:

Not reported.


COMMENTS
According to court records:

The complaint was filed July 10, 2012.


Trials Digest, A Thomson Reuters/West business
Los Angeles County Superior Court/Downtown

End of Document                                                    © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                              2

                                                                                               EXHIBIT 9b, PAGE 55
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 67 of 93 Page ID #:87




                    EXHIBIT 9c
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 68 of 93 Page ID #:88


Karras vs. Joan Baker Designs Inc., 44 Trials Digest 13th 11 (2008)




           44 Trials Digest 13th 11, 2008 WL 8126132 (Cal.Superior) (Verdict and Settlement Summary)


                                            Copyright (c) 2019 Thomson Reuters/West
                                       Superior Court, Orange County, California.

                                            Karras vs. Joan Baker Designs Inc.


TOPIC:
Synopsis: Single father claims his termination was illegal

Case Type: Labor & Employment; Discrimination; Labor & Employment; Termination/Constructive Discharge; Fraud &
Misrepresentation; Fraud; Labor & Employment; Violation of Public Policy

                                              DOCKET NUMBER: 07CC07908


STATE: California
COUNTY: Orange
                                        Verdict/Judgment Date: August 13, 2008
JUDGE: Andrew P. Banks
ATTORNEYS:
Plaintiff: Wayne D. Clayton, Horowitz & Clayton, Los Angeles; Craig A. Horowitz, Horowitz & Clayton, Los Angeles;
Steven H. Taylor, Horowitz & Clayton, Los Angeles.
Defendant: Bruce D. May, Straddling, Yocca, Carlson & Rauth, Newport Beach; Nicole Zajack, Straddling, Yocca, Carlson
& Rauth, Newport Beach.

SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $159,000


Range: $100,000-199,999
$100,000 emotional distress damage; $15,000 punitive against defendant McKee; $39,000 economic damage; $5,000
punitive against defendant Joan Baker Design.

Trial Type: Jury

Deliberations: Not reported.

Jury Poll: Not reported.


EXPERTS:
Plaintiff: David T. Fractor, Ph.D., economist, Phillips & Fractor, Pasadena, (626) 744-3535.
Defendant: Not reported.


TEXT:

CASE INFORMATION

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                1

                                                                                           EXHIBIT 9c, PAGE 56
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 69 of 93 Page ID #:89


Karras vs. Joan Baker Designs Inc., 44 Trials Digest 13th 11 (2008)



FACTS/CONTENTIONS
  According to court records: Plaintiff Steve Karras was employed by defendant Joan Baker Designs Inc. as Product
  Development Manager from March 12, 2007 through March 28, 2007. At the time of his termination on March 28, 2007,
  plaintiff was earning $100,000 per year.
  Prior to his employment with defendant Joan Baker Designs, plaintiff lived in Eugene, Oregon and was a single father of
  an 8-year-old daughter. Beginning in late January 2007, defendants Joan Baker Designs and Joan Baker McKee engaged in
  job negotiations with plaintiff. Plaintiff said defendants promised plaintiff would have stable employment as director of
  product development and would be a long-term employee and eventually assume the role of vice-president.
  Plaintiff accepted the job and moved from Oregon to San Clemente, California and was given a $3,500 moving allowance.
  Plaintiff said defendant Baker expressed reservations about hiring plaintiff due to his being a divorced, single father.
  After hiring plaintiff, defendant Baker became upset and angry when plaintiff told her he had some limitations as to when
  he went to China for the company as a result of his obligations as a divorced, single father with exclusive custody.
  Plaintiff said he picked his daughter up from school on March 27, 2007, and brought her to his office at 5:00 p.m. because
  he needed to work past 5:00 on a project.
  Plaintiff was terminated March 28, 2007.
  Plaintiff alleged fraud in the inducement, violation of Labor Code § 970, marital status discrimination, and wrongful
  termination.



CLAIMED INJURIES
 According to court records:
 Emotional distress.



CLAIMED DAMAGES
 According to court records:
 Not reported.


SETTLEMENT DISCUSSIONS
According to court records:

Not reported.


COMMENTS
According to court records:

The complaint was filed on July 13, 2007.


Trials Digest, A Thomson Reuters/West business
Orange County Superior Court

End of Document                                                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                            2

                                                                                             EXHIBIT 9c, PAGE 57
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 70 of 93 Page ID #:90




                    EXHIBIT 9d
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 71 of 93 Page ID #:91


HERNANDEZ v. PACIFIC BELL TELEPHONE CO. D/B/A..., JVR No. 1605120026...




             JVR No. 1605120026, 2016 WL 2758062 (Cal.Super.) (Verdict and Settlement Summary)


                                           Copyright (c) 2019 Thomson Reuters/West
                                    Superior Court, San Diego County, California.

 HERNANDEZ v. PACIFIC BELL TELEPHONE CO. D/B/A AT&T COMMUNICATIONS OF CALIFORNIA INC.

                                          37-2014-00014271-CU-WT-CTL
                                          DATE OF FILING: May 05, 2014
                                    DATE OF TRIAL/SETTLEMENT: April 14, 2016

SUMMARY
Outcome: Plaintiff Verdict
Total: $2,102,884
HIGH AMOUNT: $0

LOW AMOUNT: $0


Related Court Documents:
Plaintiff’s complaint: 2014 WL 11296990

Defendant’s trial brief: 2016 WL 1717695

Verdict form: 2016 WL 1715445


EXPERT-WITNESSES:
ATTORNEY:
Plaintiff: Terry J. Chapko, Law Office of Terry J. Chapko, Coronado, CA
Plaintiff: David M. deRubertis, The deRubertis Law Firm, Studio City, CA
Plaintiff: Helen U. Kim, The deRubertis Law Firm, Studio City, CA
Plaintiff: Alyssa K. Schabloski, The deRubertis Law Firm, Studio City, CA
Defendant: Janine S. Simerly, Miller Law Group, San Francisco, CA
Defendant: Lisa C. Hamasaki, Miller Law Group, San Francisco, CA
Defendant: Jocelyn M. Chan, Miller Law Group, San Francisco, CA
Defendant: Holly R. Lake, Miller Law Group, Los Angeles, CA
Defendant: Nicole Herter Perkin, Miller Law Group, Los Angeles, CA
JUDGE: Eddie C. Sturgeon

RANGE AMOUNT: $2,000,000 - 4,999,999


STATE: California
COUNTY: San Diego

SUMMARY
PLAINTIFF:
Sex: N


DEFENDANT:

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                         1

                                                                                     EXHIBIT 9d, PAGE 58
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 72 of 93 Page ID #:92


HERNANDEZ v. PACIFIC BELL TELEPHONE CO. D/B/A..., JVR No. 1605120026...



Sex: O

Organization Type: Pacific Bell Telephone Co. d/b/a AT&T Communications of California Inc.


DAMAGES:
Compensatory Pain & Suffering: $1,500,000

Compensatory Other: $602,884

Total Compensatory Award: $2,102,884

Punitive Damages: $0

Hedonic Damages: $0

Property Damages: $0

Interest: $0

Other Damages: $0

Loss of Services: $0


ADVERSE ACTION
Closer Supervision: true

Constructive Discharge: false

Demotion: false

Denial Tenure: false

Failure Accomodate: true

Failure Grant Leave: true

Failure Hire: false

Failure Promote: false

Suspension: true

Sexual Harassment: false

Harassment: false

Hostile Work Env: false

Isolation: false

Lay Off: false

Loss Benefits: false
                   © 2022 Thomson Reuters. No claim to original U.S. Government Works.                     2

                                                                                     EXHIBIT 9d, PAGE 59
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 73 of 93 Page ID #:93


HERNANDEZ v. PACIFIC BELL TELEPHONE CO. D/B/A..., JVR No. 1605120026...




Loss Pay: false

Loss Seniority: false

Negative Eval: false

Negative Reference: false

Pay Increase Denial: false

Reassignment: false

Reduction Pay: false

Reprimands: false

Restrictions: false

Termination: true


Entity Type: Private Utility Company
STATUTES
Primary Specific Statute
Primary Name: State


Primary General Statute
Primary Name: Family and Medical Leave
Primary General Statute Discrimination: false

Specific Statute: State


General Statute: Disability Discrimination
General Statute Discrimination: true

Specific Statute: General


General Statute: Retaliation
General Statute Discrimination: false

Comparative Negligence Percentage: 0



FACTS:
Angela Hernandez, a Sales and Service Representative (SSR), brought claims against Pacific Bell Telephone Co. d/b/a/
AT&T Communications of California Inc. for violation of the Family Medical Leave Act (FMLA) and the California Family
Rights Act (CFRA), CFRA interference, disability discrimination, retaliation, disparate treatment, failure to provide a
reasonable accommodation, and failure to prevent discrimination. The plaintiff claimed she was a good and loyal employee,
who performed her duties in a satisfactory manner, but in November 2011, she went out on a leave of absence because she
was suffering the effects of migraine headaches and dizziness. Hernandez alleged upon her return to work, the defendant

                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                 3

                                                                                       EXHIBIT 9d, PAGE 60
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 74 of 93 Page ID #:94


HERNANDEZ v. PACIFIC BELL TELEPHONE CO. D/B/A..., JVR No. 1605120026...



informed her that she was not meeting the company’s requirement of regular and reliable attendance, and she began reporting
to a new supervisor, who monitored her more closely, and was unduly critical of her performance. For example, Hernandez
claimed she was suspended for one day for not meeting SSR standards, and she was suspended again after taking requested
leave, because the supervisor insisted she had requested a different time. The plaintiff asserted the supervisor suspended her
again for two days after she took leave to be with her ailing father, claiming she was not eligible for FMLA leave because she
had worked only 1,242.5 hours rather than the 1,250 hours, which was required to qualify for said leave, and ultimately she
was fired. She argued that the defendant interfered with the exercise of her right to take medical leave, and it failed to take all
reasonable steps to prevent discrimination. The defendant denied the claims and contended the plaintiff was terminated
because of poor performance, noting that her own union found the termination justifiable, and refused to take her grievance
challenging the termination to arbitration. Furthermore, the defendant argued the plaintiff was granted all the reasonable
accommodations she requested, but she committed FMLA abuse because she used FMLA/CFRA leave when she did not
suffer from a serious medical condition. Additionally, it claimed she only reported to the doctor that she suffered from
migraines only 30 percent of the days she took FMLA time for migraines. A jury found for the plaintiff and awarded her
$240,329 for past economic damages, $362,555 for future economic damages, $500,000 for past loss of enjoyment of life,
mental suffering, anxiety, humiliation, grief, inconvenience, physical pain or impairment, and emotional distress, and
$1,000,000 for future loss of enjoyment of life, mental suffering, anxiety, humiliation, grief, inconvenience, physical pain or
impairment, and emotional distress. The jury also found the defendant failed to prove the plaintiff misused CFRA/FMLA
leave.


Jury Verdict Research
COURT: Superior

End of Document                                                      © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                                4

                                                                                                 EXHIBIT 9d, PAGE 61
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 75 of 93 Page ID #:95




                    EXHIBIT 9e
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 76 of 93 Page ID #:96


Frank H. Lang, as Trustee for the Estate of Margie..., 38 Trials Digest (TD)...




          38 Trials Digest (TD) 09401, 1986 WL 795038 (Cal.Superior) (Verdict and Settlement Summary)

                                           Copyright (c) 2019 Thomson Reuters/West
                                               Superior Court of California

 Frank H. Lang, as Trustee for the Estate of Margie Zingarelli, a Bankrupt v. Healthco International Corporation


TOPIC:
Case Type: Wrongful Termination

                                              DOCKET NUMBER: 327143-4


STATE: California
COUNTY: Fresno
                                                TRIAL: 8-26-86 to 9-2-1986

JUDGE: Hon. Mario Olmos
ATTORNEYS:
Plaintiff: GERALD J. MAGLIO, (Miles, Sears & Eanni), P-Fresno
Defendant: REW WEISS, (Baker, Manock & Jenson), D-Fresno

SUMMARY:
Specials: Economic Loss: $50,000-$100,000

Demand: $400,000 (998); Suggested Verdict: None Stated

Offer: None; Suggested Verdict: None Stated

Verdict: Plaintiff

Vote: 11-1

Jury Out: Unknown

Amount: $70,000 Economic Loss; $10,000 Emotional Distress; $175,000 Punitive Damages


Range: $100,000-199,999

  SYNOPSIS: Margie Zingarelli, age 53 at the time of her termination, was secretary, office administrator, and credit
  manager for Defendant. She had gone to work at Healthco International Corporation, an international distributor of
  supplies to the dental profession, in June of 1973, as a secretary to the branch manager. Before going to work for Healthco,
  she had worked for another company in the Fresno area and, for most of that period, the branch manager of her previous
  employer had been Richard Watters. The predecessor company, which has no connection whatsoever with Healthco, was
  starting to go downhill, and Mr. Watters left in 1972. The Western Regional Manager of the predecessor company, Joseph
  Halliday, also left, and had joined Healthco. Mr. Halliday decided that it would be a good idea to open a new branch of
  Healthco in Fresno, and he and Mr. Watters asreed that Mr. Watters would pioneer the branch and that Mr. Watters would
  return to Fresno, his home.
  Mr. Watters hired many of the people from his old company to work for him, including Margie Zingarelli. There was a
  conflict in the testimony on this point. Joseph Halliday, by then the Western Regional Manager for Healthco, testified that
  he did not want Mrs. Zingarelli, as he had observed her work for the previous company and had decided that she was

                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                        1

                                                                                           EXHIBIT 9e, PAGE 62
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 77 of 93 Page ID #:97


Frank H. Lang, as Trustee for the Estate of Margie..., 38 Trials Digest (TD)...



  incompetent. He stated that Mr. Watters, however, insisted on hiring Mrs. Zingarelli because he was comfortable with her
  work. Mr. Watters testified that he hired her because she was a competent employee, and he wanted to staff Healthco with
  competent employees. The evidence was uncontroverted that Mrs. Zingarelli worked at Healthco for over eleven years and
  six months, and that, at no time, was she ever advised that her job was in jeopardy. For the first seven years, she received
  regular pay raises, although there was a dispute as to whether they were merit increases or merely cost of living increases,
  with Healthco claiming they were basically cost of living increases. On January 4, 1985, the first payday of the new year
  and the first official day for the new branch manager, Mr. Hormel, Mrs. Zingarello was terminated, at 4: 45 p.m., with no
  prior warning or notice.
  Mr. Halliday, and Mr. Lynn Hormel, who took over for Mr. Watters in 1985, both testified that, during 1984, things were
  deteriorating very rapidly at the Fresno branch of Healthco. They attributed this to poor management on the part of Mr.
  Watters, and partially on Mrs. Zingarelli being abusive to other employees and customers. As credit manager, it was
  claimed she used abusive tactics to collect delinquent accounts, and was abusive to salesmen whose job it was to make
  outside calls. It was decided in late 1984 that Mr. Watters would retire as of December 31. Mr. Halliday testified that it
  was with great reluctance he had to ask Mr. Watters to retire, as they had had a working relationship going back for thirty
  years, between Healthco and the previous company. Mr. Halliday spoke with Mr. Hormel, who was an inside salesman
  during 1984 prior to assuming the job held by Mr. Watters, and they agreed that Mrs. Zingarelli would also have to go.
  They stated that it was for the good of the business and that it was a life and death situation for the Fresno branch and
  things had to be turned around.
  Defendant contended that Mrs. Zingarelli was terminated for the good of the company, in order to solve problems at the
  Fresno branch, and that it had not violated good personnel standards and practices. Defendant Healthco contended that
  there were no written formal termination procedures and, in fact, there were not. However, the President of the corporation
  was deposed, and his deposition was read to the jury. He stated that it is Healthco’s policy to treat employees fairly, and
  not to terminate employees without good cause.


  INJURIES/DAMAGES: Plaintiffalleged that, subsequent to her termination, she looked for work for approximately six
  months, and was unable to find anything in her usual field. She worked at a packing shed, packing fruit, for one week, and
  then found a job as a dietary aide at a local residential retirement complex, where she still works. She testified that,
  because of her loss of income from Healthco, $1,400 per month at termination, she was forced to file bankruptcy.


EXPERTS:
NON-MEDICAL EXPERT/WITNESS TESTIMONY:
(Plaintiff:
Charlotte Erb, (PhD./Business Administration Expert, c.S.U.-Fresno), a Professor of Business Administration and an expert
in personnel and human resources, testified that Healthco violated good standard personnel policies, and violated their own
policies by terminating Plaintiff.
James Schierholz, (Economist-Los Angeles), testified concerning the past and future wage loss, based on a difference
between the wages that Plaintiff would likely have earned at Healthco, compared to what she has earned, and will likely earn
in the future, working as a dietary aide. he gave a loss of income total of between $50,000 and $100,000, dependins upon
certain assumptions.

  COMMENTS: The jury found on Special Verdict that Defendant breached the implied contract in that it terminated
  plaintiff’s employment without good cause, and that it breached the implied covenant of good faith and fair dealing. The
  jury also found that, as a legal result of the breaches, Plaintiff suffered emotional distress and economic injury. The jury
  further found that, in so acting, Defendant acted with malice, oppression or fraud, and they assessed punitive damages.


Trials Digest, A Thomson/West business
FRESNO COUNTY
End of Document                                                   © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                             2

                                                                                              EXHIBIT 9e, PAGE 63
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 78 of 93 Page ID #:98




                     EXHIBIT 9f
 Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 79 of 93 Page ID #:99


Chopourian vs. Catholic Healthcare West, 12 Trials Digest 15th 10 (2012)




              12 Trials Digest 15th 10, 2012 WL 767196 (E.D.Cal.) (Verdict and Settlement Summary)


                                          Copyright (c) 2019 Thomson Reuters/West
                                     United States District Court, E.D. California.

                                       Chopourian vs. Catholic Healthcare West


TOPIC:
Synopsis: Armenian-American physician’s assistant alleges discrimination based on gender and ethnicity

Case Type: Labor & Employment; Discrimination; Labor & Employment; Race/National Origin; Labor & Employment;
Gender; Labor & Employment; Retaliation; Labor & Employment; Harassment-Sexual; Intentional Torts; Infliction of
Emotional Distress; Labor & Employment; Termination/Constructive Discharge; Labor & Employment; Violation of Public
Policy; Labor & Employment; Wage Disputes; Interference with Economic Advantage

                                        DOCKET NUMBER: 09CV02972(KJM)


STATE: California
COUNTY: Not Applicable
                                        Verdict/Judgment Date: February 29, 2012
JUDGE: Kimberly J. Mueller
ATTORNEYS:
Plaintiff: Lawrance A. Bohm, Bohm Law Group, Sacramento; W. Daniel Boone, Weinberg, Roger & Rosenfeld, Alameda;
Darci E. Burrell, Dickson, Levy, Vinick, Burrell & Hyams, Oakland; Gregory R. Davenport, Law Offices of Gregory R.
Davenport, Stockton; Erika M. Gaspar, Law Offices of Erika M. Gaspar, Sacramento; Jean K. Hyams, Dickson, Levy,
Vinick, Burrell & Hyams, Oakland; Leslie F. Levy, Dickson, Levy, Vinick, Burrell & Hyams, Oakland.
Defendant: David L. Ditora, La Follette, Johnson, De Haas, Fesler & Ames, Sacramento; Mary E. Greene, La Follette,
Johnson, De Haas, Fesler & Ames, Sacramento; Judith Clark Martin, La Follette, Johnson, De Haas, Fesler & Ames,
Sacramento; Roy L. Westfall, La Follette, Johnson, De Haas, Fesler & Ames, Sacramento.

SUMMARY:
Verdict/Judgment: Plaintiff

Verdict/Judgment Amount: $167,730,488


Range: $5,000,000-999,999,999
Sexually hostile work environment: $10,000,000 non-economic damages; $31,250,000 punitive damages; Retaliation:
$549,360 past lost wages; $3,181,128 future lost wages; $5,000,000 non-economic damages; $6,250,000 punitive damages;
Wrongful termination: $549,360 past lost wages; $3,181,128 future lost wages; $8,000,000 non-economic damages;
$31,250,000 punitive damages; Retaliation for Reports Regarding Patient Safety: $549,360 past lost wages; $3,181,128
future lost wages; $2,000,000 non-economic damages; $31,250,000 punitive damages; Intentional Interference with
Prospective Economic Advantage: $549,360 past lost wages; $3,181,128 future lost wages; $8,000,000 non-economic
damages; $6,250,000 punitive damages; Defamation: $6,000,000 damages; $18,750,000 punitive damages, The awards for
past and future lost wages were duplicative.

Trial Type: Jury

Trial Length: 14 days.


               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                1

                                                                                         EXHIBIT 9f, PAGE 64
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 80 of 93 Page ID #:100


Chopourian vs. Catholic Healthcare West, 12 Trials Digest 15th 10 (2012)



Deliberations: 1 day.

Jury Poll: Not reported.


EXPERTS:
Plaintiff: Charles R. Mahla, Ph.D., senior economist, Econ One Research Inc., Sacramento, (916) 576-0366.
Defendant: Not reported.


TEXT:

CASE INFORMATION

FACTS/CONTENTIONS
  According to court records: Plaintiff Ani Chopourian, a licensed Physician’s Assistant, worked in that capacity for
  defendant Catholic Healthcare West (“CHW”) from approximately August 2006 to August 7, 2008. Plaintiff worked
  primarily at defendant Mercy General Hospital, owned and operated by CHW.
  Plaintiff, who is Armenian-American, alleged that, from the beginning of her employment, she was subjected to sexual and
  ethnic comments from co-workers and persons in supervisory positions, such as the surgeons.
  On August 7, 2008, defendants terminated plaintiff, allegedly for failing to report to work on Sunday, August 3, 2008.
  Plaintiff applied for unemployment, but defendants objected, claiming that she was fired for misconduct. Plaintiff was
  granted unemployment benefits.
  In approximately August 2009, plaintiff began new employment with a different employer which required her to obtain
  privileges at CHW hospitals. Plaintiff was initially informed that there would not be a problem and that her national
  certification was not required. Subsequently, plaintiff was told by a CHW employee that she could not receive privileges
  until she obtained her national certification, which was not a requirement when plaintiff was employed by defendant.
  Plaintiff alleged that the requirement was not applied to her in an equitable manner and was an attempt to interfere with her
  ability to carry out the duties of her current employment. Plaintiff claimed that there were other physician’s assistants
  working with privileges at CHW hospitals or were hired and given privileges that did not have the national certification
  and were permitted to continue working for an extended period of time without the certification.
  Plaintiff filed suit alleging Hostile Work Environment Based on Gender and National Origin/Ethnicity, National Origin
  Harassment and Discrimination, Retaliation in Violation of 42 U.S.C. section 2000e-3(a), Retaliation in Violation of 42
  U.S.C. section 1981, Wrongful Termination in Violation of Public Policy, Intentional Infliction of Emotional Distress,
  Failure to Provide Adequate Meal and Rest Periods (Premium Wages), Interference with Prospective Economic Relations,
  and Defamation.



CLAIMED INJURIES
 According to court records:
 Emotional distress.



CLAIMED DAMAGES
 According to court records:
 Compensatory and punitive damages.


SETTLEMENT DISCUSSIONS
According to court records:

The parties participated in settlement conferences on September 15 and 28, 2011 but were unsuccessful in resolving this case.



               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                          2

                                                                                             EXHIBIT 9f, PAGE 65
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 81 of 93 Page ID #:101


Chopourian vs. Catholic Healthcare West, 12 Trials Digest 15th 10 (2012)



COMMENTS
According to court records:

The complaint was filed on October 23, 2009.


Trials Digest, A Thomson Reuters/West business
Eastern District Federal Court/Sacramento

End of Document                                              © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                        3

                                                                                          EXHIBIT 9f, PAGE 66
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 82 of 93 Page ID #:102




                    EXHIBIT 9g
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 83 of 93 Page ID #:103


JUAREZ v. AUTOZONE STORES INC., JVR No. 1412040011 (2014)




              JVR No. 1412040011, 2014 WL 7017660 (S.D.Cal.) (Verdict and Settlement Summary)


                                           Copyright (c) 2019 Thomson Reuters/West
                                     United States District Court, S.D. California.

                                        JUAREZ v. AUTOZONE STORES INC.

                                                 3:08CV00417
                                         DATE OF FILING: March 05, 2008
                                  DATE OF TRIAL/SETTLEMENT: November 17, 2014

SUMMARY
Outcome: Plaintiff Verdict
Total: $185,872,720
HIGH AMOUNT: $0

LOW AMOUNT: $0


Related Court Documents:
Plaintiff’s second amended complaint: 2010 WL 4806419

Defendant’s motion for summary judgment: 2009 WL 3464465

Pretrial order: 2013 WL 9903704

Verdict form (liability and compensatory damages): 2014 WL 6599762

Verdict form (punitive): 2014 WL 6478472


EXPERT-WITNESSES:
Plaintiff:
Psychiatrist: Addario, Dominick, M.D., San Diego, CA
Plaintiff:
Accountant: Wolf, Vickie, C.P.A., Brinig & Company, San Diego, CA
ATTORNEY:
Plaintiff: Lawrance A. Bohm, Bohm Law Group, Sacramento, CA
Plaintiff: Charles E. Moore, Simpson-Moore L.L.C., San Diego, CA
Defendant: Gregg C. Sindici, Littler Mendelson P.C., San Diego, CA
Defendant: Liliya Stanik, Littler Mendelson P.C., San Diego, CA
Defendant: Nancy E. Pritikin, Littler Mendelson P.C., San Francisco, CA
Defendant: Joshua D. Levine, Littler Mendelson P.C., San Diego, CA
JUDGE: William V. Gallo

RANGE AMOUNT: $5,000,000 - 999,999,999


STATE: California
COUNTY: Not Applicable

SUMMARY

               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                          1

                                                                                      EXHIBIT 9g, PAGE 67
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 84 of 93 Page ID #:104


JUAREZ v. AUTOZONE STORES INC., JVR No. 1412040011 (2014)



PLAINTIFF:
Sex: F

Age: Adult

General Occupation: Middle Manager


DEFENDANT:
Sex: O

Organization Type: AutoZone Stores Inc.


DAMAGES:
Compensatory Pain & Suffering: $250,000

Compensatory Past Wages: $393,760

Compensatory Future Wages: $228,960

Total Compensatory Award: $872,720

Punitive Damages: $185,000,000

Hedonic Damages: $0

Property Damages: $0

Interest: $0

Other Damages: $0

Loss of Services: $0


ADVERSE ACTION
Closer Supervision: false

Constructive Discharge: false

Demotion: true

Denial Tenure: false

Failure Accomodate: false

Failure Grant Leave: false

Failure Hire: false

Failure Promote: true

Suspension: false


                 © 2022 Thomson Reuters. No claim to original U.S. Government Works.                  2

                                                                                EXHIBIT 9g, PAGE 68
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 85 of 93 Page ID #:105


JUAREZ v. AUTOZONE STORES INC., JVR No. 1412040011 (2014)



Sexual Harassment: false

Harassment: true

Hostile Work Env: true

Isolation: false

Lay Off: false

Loss Benefits: false

Loss Pay: false

Loss Seniority: false

Negative Eval: false

Negative Reference: false

Pay Increase Denial: false

Reassignment: false

Reduction Pay: true

Reprimands: false

Restrictions: false

Termination: true


Entity Type: Service/Retail Company
STATUTES
Primary Specific Statute
Primary Name: State


Primary General Statute
Primary Name: Pregnancy Discrimination
Primary General Statute Discrimination: true

Specific Statute: State


General Statute: Sex Discrimination
General Statute Discrimination: true

Specific Statute: General


General Statute: Retaliation
General Statute Discrimination: false


                   © 2022 Thomson Reuters. No claim to original U.S. Government Works.                  3

                                                                                  EXHIBIT 9g, PAGE 69
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 86 of 93 Page ID #:106


JUAREZ v. AUTOZONE STORES INC., JVR No. 1412040011 (2014)



Specific Statute: General


General Statute: Wrongful Termination
General Statute Discrimination: false

Comparative Negligence Percentage: 0



FACTS:
Rosario Juarez sued AutoZone Stores Inc. for discrimination and harassment based on her pregnancy and gender, as well as
retaliation, wrongful termination, and failure to prevent discrimination and harassment. The plaintiff, who was hired as a
retail salesperson in December 2000 and was promoted to parts sales manager in 2001, claimed she performed her job
satisfactorily and met all reasonable expectations, but the defendant had an opaque promotion process that discriminated
against women. Juarez further claimed that the defendant directed its district managers to stop promoting women to store
managers or reduce the number of women promoted, and to start getting rid of the women store and district managers. The
plaintiff asserted she was promoted to store manager in 2004 only after she threatened to sue the company, but the defendant
allegedly then ordered the human resources department to curtail or eliminate any investigations or prevention of
discrimination. Juarez contended that when she became pregnant in September 2005, her supervisor asked her to step down
as store manager because of her pregnancy, and continued to ask her to step down after her son was born. According to the
plaintiff, she complained about her supervisor’s conduct to a human resources representative, who ignored her complaint and
destroyed evidence of her complaint, and to a regional training manager, who also did not investigate the complaint. Juarez
was reportedly demoted to parts sales manager with a pay decrease in February 2006, but the defendant still asked her to
perform store manager duties without promoting her. She maintained that in January 2007, she filed a complaint with the
California Department of Fair Employment and Housing, and was terminated in November 2008 because she refused to
participate in an illegal interrogation by loss prevention. She said her refusal was used as a pretext to terminate her, but her
dismissal was actually motivated by her complaint of discrimination. The defendant denied the claims and contended the
plaintiff was under-performing as store manager, and was given notice of her poor performance prior to telling her supervisor
she was pregnant, mainly, the conditions of her store and her in-stock positions did not comply with company standards and
she was not properly using the area merchandiser program. The defendant claimed that after Juarez was placed on a
performance improvement plan, she began to encourage employees to quit if she was demoted or transferred, she was
demoted when she she did not improve her performance, and she was terminated when $400 was missing because she did not
follow proper cash handling procedures. A jury found for the plaintiff on all claims and awarded her $393,760 in back pay,
$228,960 in front pay, $250,000 for pain and suffering, and $185,000,000 in punitive damages.


Jury Verdict Research
COURT: USDC

End of Document                                                    © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                              4

                                                                                               EXHIBIT 9g, PAGE 70
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 87 of 93 Page ID #:107




                    EXHIBIT 9h
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 88 of 93 Page ID #:108


Yaire Lopez v. Bimbo Bakeries USA, Inc., 2007 WL 1765192 (2007)




                         2007 WL 1765192 (Cal.Superior) (Verdict and Settlement Summary)


                                Copyright (c) 2019 ALM Media Properties, LLC. All Rights Reserved
                                   Superior Court, San Francisco County, California

                                        Yaire Lopez v. Bimbo Bakeries USA, Inc.

                                      No. CGC-05-445104
                           DATE OF VERDICT/SETTLEMENT: May 22, 2007
TOPIC: CIVIL RIGHTS - PREGNANCY DISCRIMINATION - EMPLOYMENT - PREGNANCY - EMPLOYMENT -
WRONGFUL TERMINATION - EMPLOYMENT - FAILURE TO ACCOMMODATE - EMPLOYMENT -
RETALIATION

Baking Company Sued for Pregnancy Discrimination


SUMMARY:
RESULT: Verdict-Plaintiff

The jury found Bimbo Bakeries liable for discriminating against Lopez because she had become pregnant and that it had
failed to accommodate her upon discovering that she was pregnant. The jury also found that Bimbo Bakeries had retaliated
against Lopez by firing her after it failed to win an appeal against her unemployment insurance benefit claim. Additionally,
the jury found Bimbo Bakeries activities malicious, fraudulent or oppressive. As a result of their findings, the jury awarded
Lopez $2,340,700 in compensatory and punitive damages.


EXPERT WITNESSES:
Plaintiff: Mark A. Cohen, Ph.D.; Economics; Walnut Creek, CA Mark I. Levy, M.D; Psychiatry; Mill Valley, CA Mary
Ciddio; Vocational Rehabilitation; Oakland, CA
ATTORNEYS:
Plaintiff: Daniel L. Feder; Law Offices of Daniel Feder; San Francisco, CA (Yaire Lopez); Christopher R. LeClerc; Law
Offices of Daniel Feder; San Francisco, CA (Yaire Lopez)
Defendant: E. Joseph Connaughton; Paul, Plevin, Sullivan & Connaughton LLP; San Diego, CA (Bimbo Bakeries USA,
Inc.); Melissa Listug-Klick; Paul, Plevin, Sullivan & Connaughton LLP; San Diego, CA (Bimbo Bakeries USA, Inc.)
JUDGE: Ronald Quidachay

RANGE AMOUNT: $2,000,000-4,999,999


STATE: California
COUNTY: San Francisco


INJURIES: Plaintiff’s counsel sought to recover $267,000 in past and future lost wages plus unspecified damages for
emotional distress. Counsel also asked the jury to award Lopez punitive damages given the discriminatory and
malicious nature of Bimbo Bakeries actions against Lopez.


Facts:
On Feb. 4, 2005, plaintiff Yaire Lopez, a 27-year-old route sales representative, told her employer, Bimbo Bakeries, Fort
Worth, Texas, that she had become pregnant three months before by providing the company with a medical restriction
doctor’s note. Bimbo Bakeries responded by notifying Lopez that it had placed her on unpaid medical leave because the
medical restriction doctor’s note prohibited her from performing the majority of her duties. Bimbo Bakeries reasoned that,
               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                        1

                                                                                               EXHIBIT 9h, PAGE 71
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 89 of 93 Page ID #:109


Yaire Lopez v. Bimbo Bakeries USA, Inc., 2007 WL 1765192 (2007)



since Lopez would not be able to lift objects weighing more than 20 pounds or climb certain objects, she was unable to
perform her job.

Understanding that she needed to have a job in order to provide for her children, Lopez applied for a thrift store clerk position
with Bimbo Bakeries. The human resources department subsequently told Lopez that it didn’t feel that she would be able to
perform that job due to the medical restrictions indicated in the doctor’s note she had provided and she was not placed in that
role. The company further informed Lopez that her medical benefits would conclude after she was on unpaid medical leave
for 12 weeks.

In an effort to clarify Lopez’ situation, her medical provider then contacted Bimbo Bakeries and told it that her pregnant
status wouldn’t prevent her from performing the tasks that the positions required. Despite the medical provider’s efforts to
clarify her status as pregnant, and not disabled, Lopez was not issued another position by Bimbo Bakeries.

On April 4, 2005, Bimbo Bakeries sent Lopez a “48-Hour Letter” requesting that she confirm her status with the company
within 48 hours or she would be listed as resigned. Lopez was out of town at the time and, when she finally saw the letter, she
called Bimbo Bakeries one month later explaining that she wanted to continue to work for the company.

Following that call, Lopez applied for unemployment insurance benefits with the Employment Development Department
(EDD). Lopez had worked for Bimbo Bakeries for four years.

When it learned of Lopez unemployment insurance benefit filing, Bimbo Bakeries contested Lopez’ award with EDD, and
subsequently the California Unemployment Insurance Appeals Board (CUIAB), claiming that Bimbo Bakeries had no
modified duty to Lopez and that she had effectively quit the company. Bimbo’s claims to deny Lopez unemployment benefits
were denied by both the EDD and the CUIAB. After the CUIAB appeal hearing, which occurred on May 20, 2005, Bimbo
Bakeries notified Lopez that the company was terminating her employment immediately because she had failed to promptly
respond to the “48-hour letter” that she’d received a month-and-a-half earlier.

Claiming that she had been wrongfully discharged, willfully and maliciously discriminated against because she had become
pregnant, and that Bimbo Bakeries had failed to reasonably accommodate her while she was pregnant, Lopez sued Bimbo
Bakeries for damages.

Plaintiff’s counsel asserted that Bimbo Bakeries immediately intended to terminate Lopez upon receiving notice that she had
become pregnant. Counsel argued that the company’s actions and determinations amounted to willful and malicious
discrimination against a pregnant woman. Counsel further asserted that the actions that Bimbo Bakeries had taken upon being
notified that Lopez had filed for unemployment benefits equated to a malicious retaliatory campaign.

Counsel for the defense argued that Lopez had quit her job by not returning to work and that its human resources department
assumed that she had quit when it received notice that she was receiving unemployment insurance benefits. Counsel further
maintained that Bimbo Bakeries contested Lopez’ receipt of the unemployment benefits because employees who resign from
their jobs are not entitled to receive the benefit.

According to the defendant Bimbo Bakeries, it took all measures to remain in contact with Lopez and it did not separate
Lopez from her employment until it had received notice that she was receiving unemployment benefits. Counsel further
asserted that the company only changed Lopez’ status from resigned to terminated after the unemployment hearing
concluded.

Regarding the wage loss claim, counsel argued that Lopez had to enter a program to find comparable work as an electrician.
Since Lopez required five years of training and experience to get to the same level of income as she’d received when working
for Bimbo Bakeries, counsel requested an award of $267,000 for past and future lost wages.

Counsel also emphasized that Lopez had suffered a significant amount of anxiety and emotional distress from being
terminated by Bimbo Bakeries because she had children to feed and she was terminated while she was six months pregnant
with twins. Counsel asserted that Lopez’ fears grew to the point that she had seriously considered undergoing an abortion in
order to regain her job with Bimbo Bakeries.

                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                           2

                                                                                             EXHIBIT 9h, PAGE 72
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 90 of 93 Page ID #:110


Yaire Lopez v. Bimbo Bakeries USA, Inc., 2007 WL 1765192 (2007)




Counsel for the defense contended that Lopez did not sustain any emotional distress damages and that her past economic loss
was negligible. Additionally, counsel suggested that Lopez shouldn’t have been entitled to any future economic damages
because, two weeks prior to the start of the trial, Bimbo Bakeries officially offered to fully reinstate Lopez.


ALM Properties, Inc.
Superior Court of San Francisco County, at San Francisco

PUBLISHED IN: VerdictSearch California Reporter Vol. 6, Issue 24

End of Document                                                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                            3

                                                                                             EXHIBIT 9h, PAGE 73
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 91 of 93 Page ID #:111




                      EXHIBIT 9i
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 92 of 93 Page ID #:112


Danielle Coziahr v. Chula Vista Elementary School District, 2007 WL 4590579 (2007)




                         2007 WL 4590579 (Cal.Superior) (Verdict and Settlement Summary)


                                  Copyright (c) 2019 ALM Media Properties, LLC. All Rights Reserved
                                       Superior Court, San Diego County, California

                                Danielle Coziahr v. Chula Vista Elementary School District

                                        No. GIS24716
                        DATE OF VERDICT/SETTLEMENT: December 07, 2007
TOPIC: EMPLOYMENT - WRONGFUL TERMINATION - CIVIL RIGHTS - PREGNANCY DISCRIMINATION -
DISCRIMINATION - GENDER

Teacher Claimed Termination Was Retaliatory, Gender-based


SUMMARY:
RESULT: Verdict-Plaintiff

The jury found in favor of the plaintiff, awarding her a total of $1,012,720.

By law, the defendant is also responsible for plaintiff’s attorney’s fees and court costs.


EXPERT WITNESSES:
Plaintiff: Stephen T. Riley, Ph.D.; Economics; San Diego, CA
ATTORNEYS:
Plaintiff: C. Daniel Carroll; McCann & Carroll; Carlsbad, CA (Danielle Coziahr); Laura J. Farris; Law Offices of Laura J.
Farris; Carlsbad, CA (Danielle Coziahr)
Defendant: Pamela A. Dempsey; Parham & Rajcic; Laguna Hills, CA (Chula Vista Elementary School District, Chula Vista
Elementary School District)
JUDGE: Charles Hayes

RANGE AMOUNT: $1,000,000-1,999,999


STATE: California
COUNTY: San Diego


INJURIES: Since her termination, Coziahr has not had an interview for a teaching job at a public school in San Diego
County, despite having submitted many applications. She claimed past and future lost wages and benefits of $862,720.
She also asked for damages for her pain and suffering.


Facts:
On Jan. 31, 2006, plaintiff Danielle Coziahr, 32, a third-grade teacher at Silver Wing Elementary School, was advised that
she would not be asked to continue teaching the following year.

Coziahr sued Chula Vista Elementary School District, of which Silver Wing Elementary School is a part, claiming that she
was fired because of gender discrimination, pregnancy discrimination and retaliation.

Coziahr taught third grade at Silver Wing Elementary School from July 19, 2004 through June 18, 2006. She claimed that she
was subject to a pattern of gender-based discrimination by her school principal, Alex Cortes, from July 18, 2005 through Jan.
                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                       1

                                                                                                  EXHIBIT 9i, PAGE 74
Case 2:22-cv-04081-JFW-AS Document 1-2 Filed 06/14/22 Page 93 of 93 Page ID #:113


Danielle Coziahr v. Chula Vista Elementary School District, 2007 WL 4590579 (2007)



31, 2006, when she was notified that she would be denied tenure and not re-hired for the following school year. The alleged
discriminatory acts included the denial of a private, locked room for expressing breast milk, as required by California Labor
Code, Section 1031; removal from the school’s leadership team; denial of books and other materials needed to instruct her
students; denial of training; repeated comments about her child care responsibilities; and false evaluations by the principal.

When Coziahr was let go, the tenured teachers at Silver Wing unanimously opposed her termination and signed a petition on
her behalf. Individual teachers wrote letters of support, lauding Coziahr’s proficiency and dedication as a teacher and
detailing her contributions to the school. Additionally, the parents of students passed out flyers opposing the termination and
picketed the school. Coziahr retained a lawyer, who wrote to the district about the allegedly discriminatory basis of the
termination and demanded that Coziahr be reinstated.

On March 7, 2006, the school board unanimously confirmed Coziahr’s termination on its consent agenda without discussion.
Her last day of teaching was June 16, 2006.

Plaintiff’s counsel argued that the district’s executive director for curriculum and instruction, Patricia Ludi; assistant
superintendent for human resources, Dr. Thomas Cruz; and superintendent, Dr. Lowell Billings, failed to investigate the
allegations against Coziahr.

Defense counsel claimed that Cortes thought Coziahr was not an effective teacher, and that her students’ test scores had
declined. He claimed that was why he felt her contract should not be renewed. He further claimed that he was unaware that
she was pregnant with her second child at the time.


ALM Properties, Inc.
Superior Court of San Diego County, at Chula Vista

PUBLISHED IN: Employment Law Verdict Reports, Issue 9

End of Document                                                    © 2022 Thomson Reuters. No claim to original U.S. Government Works.




                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                              2

                                                                                                EXHIBIT 9i, PAGE 75
